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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
PREMCA EXTRA INCOME FUND LP,       )
individually and on behalf of      )
all others similarly situated,     )
                                   )
                    Plaintiff,     )
                                   )
          v.                       )                 CIVIL ACTION
                                   )                 NO. 24-11158-WGY
IROBOT CORPORATION,                )
COLIN M. ANGLE, and                )
JULIE ZEILER,                      )
                    Defendants.    )
___________________________________)



YOUNG, D.J.                                          January 27, 2025

                          MEMORANDUM AND ORDER

I. INTRODUCTION

      For the reasons stated below, defendants iRobot Corporation

(“iRobot” or “the Company”), Colin M. Angle (“Angle”) and Julie

Zeiler’s (“Zeiler”) Motion to Dismiss Premca Extra Income Fund’s

(“Premca”) First Amended Complaint, ECF No. 50, is hereby

ALLOWED and this action is DISMISSED with prejudice.

II.   BACKGROUND

      A.    Procedural History

      In this putative class action, Premca filed a First Amended

Complaint, First Am. Compl. Violations of Fed. Securities Laws

(“First Amended Complaint” or “FAC”), ECF No. 47, against
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iRobot, Angle, and Zeiler (collectively “the Defendants”).                The

Defendants move to dismiss the First Amended Complaint pursuant

to Rule 12(b)(6) of the Federal Rules of Civil Procedure,

supported by a memorandum of law.         Defs.’ Mot. Dismiss Am.

Compl., ECF No. 50; Mem. Law Supp. Defs.’ Mot. Dismiss Am.

Compl. (“iRobot Mem.”), ECF No. 51.          The motion is supported by

exhibits.    App. Public Rs. Cited Mem. Law Supp. Defs.’ Mot.

Dismiss Am. Compl. (“iRobot Exhibits” or “iRobot Exs.”), ECF No.

52.   Premca filed a memorandum of law in opposition.             Pls.’

Opp’n Defs.’ Mot. Dismiss (“Premca Opp’n”), ECF No. 59.               The

Defendants filed a reply.      Reply Supp. Defs.’ Mot. Dismiss

(“Reply”), ECF No. 60.

      The parties presented oral arguments at a hearing on

October 28, 2024.     See Elec. Clerk Notes, ECF No. 61; Mot.

Dismiss Tr., ECF No. 62.       The Court took the matter under

advisement. Id.

      B.    Facts Alleged in the First Amended Complaint1

             1. Merger Regulation Background in the United States
                and the European Union

      When companies intend to merge, they must file a premerger

notification report with the United States Federal Trade

Commission’s (“FTC”) Bureau of Competition.           FAC ¶ 29.



      1 The facts are taken virtually verbatim from the First
Amended Complaint for completeness, but are not quoted for
readability.
                                    [2]
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Submission of the report triggers a 30-day waiting period before

the parties are allowed to effect the merger.            Id.   If the FTC

determines during that period that further inquiry is necessary,

the FTC issues a request for additional information and

documentary material (a “Second Request”).           Id. ¶ 31.     A Second

Request extends the waiting period for a specified period of

time, providing the FTC with the opportunity to analyze the

information and to take appropriate action before a transaction

is consummated.     Id.   If the FTC believes that a proposed

transaction may substantially lessen competition, the agency may

seek an injunction in federal district court to block the

transaction.    Id.

      In 2022, the FTC issued Second Requests in 0.8% of cases.

Id. ¶ 32.    If the FTC determines that a merger is likely to

create anticompetitive effects, the FTC will attempt to

negotiate remedies with the merging parties to reduce or

eliminate such effects.        Id. ¶ 33.   Throughout the FTC’s review

of a potential transaction, the FTC Bureau of Competition

remains in regular contact with the merging companies.               Id.

      In the European Union (“EU”), part of the EU’s executive

body, the European Commission (“EC”), regulates mergers.               Id. ¶

34.   Under Council Regulation (EC) No. 139/2004 (the “Merger

Regulation”) the EC only examines mergers with an EU dimension

that reach certain turnover (revenue) thresholds.              Id. ¶¶ 34-35.

                                     [3]
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If the merging companies exceed the turnover thresholds outlined

in the European Commission’s Merger Regulation, then it conducts

a full investigation.    Id. ¶ 36.

     The first step for any EU merger is for merging parties to

notify the EC.   Id. ¶ 37.    The EC then has 25 working days to

analyze the proposed merger during the first phase of the

investigation (“Phase I”).      Id. ¶ 38.    More than 90% of all

cases are resolved in Phase I, generally without any requested

alterations to the proposed merger.         Id.   A Phase I review

generally will consist of requests for information from the

merging companies and questionnaires to competitors and/or

customers seeking their views on the merger.           Id.    The European

Commission keeps the merging companies informed about the

progress of the Phase I analysis and, toward the end of Phase I,

holds a “state-of-play meeting” with the merging companies where

the European Commission informs the companies of the results of

the investigation.     Id.   Similar to the FTC process, if the

European Commission has competition concerns, the merging

companies are able to offer remedies, which can extend the Phase

I deadline.   Id.   At the end of Phase I, the proposed merger is

either cleared, or the EC will open a Phase II investigation

(“Phase II”).    Id.

     Phase II is a more intensive analysis.          Id. at ¶ 39.      A

Phase II review generally involves more extensive information

                                   [4]
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gathering, including companies’ internal documents, extensive

economic data, more detailed questionnaires to market

participants, and/or on-site visits.          Id.   A Phase II review

also analyzes claimed efficiencies which the companies assert

could be obtained by the proposed merger.           Id.   Similar to the

Phase I review, the EC updates the merging companies regularly

about the process.     Id.     If the EC concludes that the proposed

merger will likely impede competition, it sends a statement of

objections to the merging companies, informing them of the EC’s

preliminary conclusions.       Id.   The merging companies then have

the right to respond to a statement of objections in writing,

consult the European Commission’s case file, and request an oral

hearing conducted independently by a competition hearing

officer.    Id.

      Following a Phase II investigation, the European Commission

will (1) unconditionally clear the proposed merger to proceed,

(2) approve the merger subject to remedies, or (3) prohibit the

merger if no adequate remedies to the competition concerns have

been proposed by the merging parties.         Id. ¶ 41.        In 2022, only

8 EC mergers, or 2.1%, involved a Phase II investigation.                Id. ¶

40.

             2. iRobot Background

      iRobot was founded in 1990 by Angle, Helen Greiner and

Rodney Brooks with a focus on developing and manufacturing

                                     [5]
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military and domestic robots.     Id. ¶ 45.    By early 2016,

iRobot’s revenue was generated solely by its domestic line of

robotic vacuum cleaners (“RVCs”), mainly the Roomba.           Id. ¶ 48.

After rapidly rising to the top of the RVC market, iRobot’s

dominant market share declined steadily beginning in 2014

through 2020.   Id. ¶ 49.

     The COVID-19 pandemic briefly stemmed Roomba’s decline.

Id. ¶ 50.   The pandemic bump soon waned, however, and iRobot’s

revenue dropped almost as fast as it initially rose.           Id. ¶ 52.

In the quarters leading up to the merger with Amazon (“the

Merger”), iRobot’s revenue and margins declined consistently.

Id. ¶ 53.

            3. August 2022 –- The Merger is Announced

     On August 5, 2022, iRobot announced its Merger with Amazon

through a press release and filed with the SEC in a Form 8-K,

stating:

     Today Amazon (NASDAQ:AMZN) and iRobot (NASDAQ:IRBT)
     announced that they have entered into a definitive
     merger agreement under which Amazon will acquire
     iRobot. . . . Amazon will acquire iRobot for $61 per
     share in an all-cash transaction valued at
     approximately $1.7 billion, including iRobot’s net
     debt. Completion of the transaction is subject to
     customary closing conditions, including approval by
     iRobot’s shareholders and regulatory approvals. On
     completion, Colin Angle will remain as CEO of iRobot.

Id. ¶ 63.




                                  [6]
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      The Amazon/iRobot merger agreement (“Merger Agreement”) was

filed with the 8K, dated August 4, 2022.            Id. ¶ 64.      The Merger

Agreement provided that iRobot and Amazon would notify each

other if any government entity made a request or commenced a

proceeding related to the Merger, and would keep each other

informed about the status of any governmental request.                 Id. ¶

64.

      The Merger Agreement also stated, among other things, that

iRobot and Amazon would use “reasonable best efforts” to

complete the Merger and to obtain regulatory clearance and

resolve regulatory objections, supply as promptly as reasonably

practicable any additional information and documentary material

requested or required, and contest any proceedings challenging

the Merger.    Id. ¶ 66.

      On August 5, 2022, iRobot separately filed a Form 8-K to

announce its second quarter 2022 financial results.                Id. ¶ 67.

In that Form 8-K, iRobot announced that revenue for Q2 2022 was

over $100,000,000 less than Q2 2021.         Id.      This poor financial

news, however, was offset by iRobot’s announcement of the Merger

with Amazon, blunting its impact.         Id.     According to

Confidential Witness 2 (“CW2”),2 iRobot stopped hosting earnings


      2 iRobot employed CW2 from June 2017 to December 2023,
first as a Senior Tax Manager for Global Finance, then during
the Class Period as the Director of Global Finance. FAC ¶ 69.
As the Director of Global Finance, CW2 reported directly to
                                    [7]
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calls at Zeiler’s direction because it was in such a bad

financial situation that it did not want to discuss its

forecasts.    Id. ¶ 70.

      On August 10, 2022, iRobot filed its Form 10-Q with the SEC

for the second quarter of fiscal year 2022, which ended July 2,

2022 (the “Q2 2022 Form 10-Q”).        Id. ¶ 71.     The Q2 2022 Form 10-

Q was signed by Zeiler.        Id.   While these statements are not

within the class period, iRobot discussed the Merger and its

contingencies, stating, in relevant part:

      The Merger is conditioned upon, among other things,
      the approval of the Merger Agreement by the Company’s
      stockholders, the expiration of the applicable waiting
      period (and any extension thereof) under the Hart-
      Scott-Rodino Antitrust Improvements Act of 1976, as
      amended, certain other approvals, clearances or
      expirations of waiting periods under other antitrust
      laws and foreign investment laws, and other customary
      closing conditions.

Id.

      The Q2 2022 Form 10-Q also discussed the risks related to

the Merger, and stated, in relevant part:

           On August 4, 2022, we entered into the Merger
      Agreement with Amazon and Merger Sub, providing for
      the acquisition of iRobot by Amazon. Completion of the
      Merger is subject to the satisfaction of various
      conditions, including (1) the adoption of the Merger
      Agreement by a majority of the holders of the


Zeiler, who in turn reported to Angle. Id. CW2’s job
responsibilities included serving as the finance lead for
mergers and acquisitions. Id. In 2023, CW2’s responsibilities
largely involved iRobot’s global real estate. CW2 attended
monthly Senior Leadership Team Meetings with the iRobot
executive team, including Angle and Zeiler. Id.
                                      [8]
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outstanding shares of our common stock, (2) the
expiration or early termination of the applicable
waiting period under the Hart-Scott-Rodino Antitrust
Improvements Act of 1976, as amended, and certain
other approvals, clearances or expirations of waiting
periods under other antitrust laws and foreign
investment laws, (3) the absence of any order,
injunction or law prohibiting the consummation of the
Merger, (4) the accuracy of the other party’s
representations and warranties, subject to certain
materiality standards set forth in the Merger
Agreement, (5) compliance in all material respects
with the other party’s obligations under the Merger
Agreement, and (6) no Material Adverse Effect (as
defined in the Merger Agreement) having occurred since
the date of the Merger Agreement that is continuing.
There is no assurance that all of the various
conditions will be satisfied, or that the Merger will
be completed on the proposed terms, within the
expected timeframe, or at all. Furthermore, there are
additional inherent risks in the Merger, including the
risks detailed below.
     ***
     The Merger may be delayed, and may ultimately not
be completed, due to a number of factors, including:
     • the failure to obtain the approval of the
Merger Agreement by our stockholders;
     • the failure to obtain regulatory approvals from
various governmental entities (or the imposition of
any conditions, limitations or restrictions on such
approvals);
     • potential future stockholder litigation and
other legal and regulatory proceedings, which could
delay or prevent the Merger; and
     • the failure to satisfy the other conditions to
the completion of the Merger, including the
possibility that a Material Adverse Effect on our
business would permit Amazon not to close the Merger.
     If the Merger does not close, our business and
stockholders would be exposed to additional risks,
including:
     • to the extent that the current market price of
our common stock reflects an assumption that the
Merger will be completed, the price of our common
stock could decrease if the Merger is not completed;
     • investor confidence could decline, stockholder
litigation could be brought against us, relationships

                              [9]
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       with existing and prospective customers, distributors,
       retailers, service providers, investors, lenders and
       other business partners may be adversely impacted, we
       may be unable to retain key personnel, and
       profitability may be adversely impacted due to costs
       incurred in connection with the pending Merger;
            • the requirement that we pay a termination fee
       of $56.0 million if the Merger Agreement is terminated
       in certain circumstances, including by the Company to
       enter into a superior proposal or by Amazon because
       the Board withdraws its recommendation in favor of the
       Merger.

Id. ¶ 72.

       After the Merger was announced, antitrust experts

anticipated stiff opposition from the FTC, and privacy activists

mobilized to oppose the Merger, sending an open letter to the

FTC to express their concerns two days after iRobot filed a

proxy statement with the FTC on September 7, 2022.              Id. ¶¶ 74,

76.    Lawmakers in the United States also expressed opposition to

the Merger due to concerns about competition in the home

robotics market, Amazon’s history of anti-competitive practices,

and threats to consumer privacy.           Id. ¶ 78.

               4. September 2022 –- The FTC’s Second Request

       On September 19, 2022, the FTC sent a Second Request

concerning the Merger.         Id. ¶ 77.    iRobot’s public filings in

the latter half of 2022 repeated the same risk warnings as

before when discussing the Merger’s regulatory prospects.                Id. ¶




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79.    During the latter half of 2022, iRobot’s financial

situation worsened.3      Id.    ¶ 80.

               5. Early 2023 -– EC’s Interest in the Merger

       As 2023 began, the EC intensified its scrutiny of the

Merger.    Id. ¶ 82.    This enhanced scrutiny followed an

investigation by MIT Technology Review, published in December

2022, that detailed how a development version of a Roomba being

tested by paid volunteers had captured intimate images. Id.; see

Javier Espinoza & Dave Lee, EU set to investigate Amazon’s

$1.7bn purchase of Roomba-maker, Fin. Times (Feb. 15, 2023),

https://www.ft.com/content/b05a1260-ee5a-4ac8-9a34-31cdb8104cf1.

In a direct response to the privacy concerns sparked by the MIT

Technology Review investigation, regulators sent Amazon a series

of detailed questions about the proposed transaction.               FAC ¶ 82.

This move was seen as a prelude to a formal probe by the

European Commission.      Id.




       3According to Confidential Witness 1 (“CW1”), iRobot’s
Director of FP&A, Supply Chain and Digital Business from
November 2021 until April 2024, iRobot missed internal sales
forecasts for 18 months starting around the time the Merger was
announced. FAC ¶¶ 55-56. CW1 stated that iRobot had extremely
aggressive sales projections, but lacked a concrete plan to
achieve those sales, and that Zeiler instituted this aggressive
approach. Id. ¶ 56. CW1 further stated that the Roomba was no
longer competitive and remained a high-end product that
consumers did not want to purchase compared to lower-priced
models. Id.
                                     [11]
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     According to Premca, because the Merger Agreement included

a provision mandating that iRobot and Amazon would notify each

other if any government entity made a request or commenced a

proceeding related to the Merger, iRobot must have been aware of

the EC’s questions sent to Amazon.        Id.   According to Premca,

iRobot refused to inform investors of the EC’s actions or the

increased scrutiny that the Merger was facing when it submitted

its filings on iRobot’s fourth quarter and full-year 2022

financial results between February 13 and February 14, 2023.

Id. ¶ 84.

            6. The Class Period Begins -– February 13, 2023

     On February 13, 2023, iRobot filed its Form 8-K with the

following risk disclosures:

     Important risk factors that may cause such a
     difference include, but are not limited to: (i) the
     ability of the parties to consummate the proposed
     transaction with Amazon.com, Inc in a timely manner or
     at all; (ii) the satisfaction (or waiver) of closing
     conditions to the consummation of the proposed
     transaction; (iii) potential delays in consummating
     the proposed transaction; (iv) the ability of the
     Company to timely and successfully achieve the
     anticipated benefits of the proposed transaction; (v)
     the occurrence of any event, change or other
     circumstance or condition that could give rise to the
     termination of the merger agreement; (vi) the impact
     of the COVID-19 pandemic and the current conflict
     between the Russian Federation and Ukraine on the
     Company’s business and general economic conditions;
     (vii) the Company’s ability to implement its business
     strategy; (viii) significant transaction costs
     associated with the proposed transaction; (ix)
     potential litigation relating to the proposed
     transaction; (x) the risk that disruptions from the

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     proposed transaction will harm the Company’s business,
     including current plans and operations; (xi) the
     ability of the Company to retain and hire key
     personnel; (xii) potential adverse reactions or
     changes to business relationships resulting from the
     announcement or completion of the proposed
     transaction; (xiii) legislative, regulatory and
     economic developments affecting the Company’s
     business; (xiv) general economic and market
     developments and conditions; (xv) the evolving legal,
     regulatory and tax regimes under which the Company
     operates; (xvi) potential business uncertainty,
     including changes to existing business relationships,
     during the pendency of the merger that could affect
     the Company’s financial performance; (xvii)
     restrictions during the pendency of the proposed
     transaction that may impact the Company’s ability to
     pursue certain business opportunities or strategic
     transactions; (xviii) unpredictability and severity of
     catastrophic events, including, but not limited to,
     acts of terrorism or outbreak of war or hostilities,
     (xviv) current supply chain challenges including
     current constraints in the availability of certain
     semiconductor components used in our products; (xx)
     the financial strength of our customers and retailers;
     (xxi) the impact of tariffs on goods imported into the
     United States; and (xxii) competition, as well as the
     Company’s response to any of the aforementioned
     factors.


Id. ¶ 86 (“Statement No. 1”).

     Premca alleges that the above statements were materially

false or misleading when made because the statements failed to

disclose the following purportedly material adverse information

necessary to make the statement not misleading:

          (a) the European Commission had increased its
     scrutiny of the Merger after the MIT exposé in
     December 2022 and sent Amazon detailed questions over
     the Merger which were not resolved, increasing the
     regulatory threat to the Merger;


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          (b) regulators had expressed concern that the
     Merger would allow Amazon and iRobot to exercise
     significant control over the RVC market, threatening
     competition;

          (c) the Merger faced significant resistance from
     regulators at the FTC and European Commission due to
     antitrust and privacy concerns that were expressed to
     Merger participants and known internally at iRobot,
     making its approval unlikely;

          (d) Amazon, with iRobot’s knowledge, was not
     cooperating with governmental regulators, and instead
     had refused to respond to the regulatory requests for
     information, thereby increasing the likelihood that
     regulators would oppose the Merger;

          (e) as a result of all the foregoing, iRobot
     materially understated the regulatory threat to the
     Merger;

Id. ¶ 87.

     On February 14, 2023, iRobot filed its Form 10-K with the

SEC for its fourth quarter and full-year 2022 financial results,

ended December 31, 2022 (the “2022 Form 10-K”).            Id. ¶ 88.   The

2022 Form 10-K was signed by Angle.       Id.   Therein, the Company

discussed the Merger and, in a purported “carbon-copy” statement

of risks compared to previous SEC disclosures.         Id. ¶¶ 88

(“Statement No. 2”), 89 (“Statement No. 3”).        Appended as

exhibits to the 2022 Form 10-K were signed certifications by

Zeiler and Angle.   Id. ¶ 91 (“Statement No. 4”).

     According to Premca, the 2022 Form 10-K statements were

materially false or misleading when made because:

          (1) iRobot and Amazon were not “work[ing]
     cooperatively” with governmental regulators, but

                                 [14]
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     instead taking an adversarial approach and refusing to
     provide requested information or answer regulators’
     questions; and

          (2) the statements omitted to disclose the
     following material adverse information necessary to
     make the statements made not misleading: (a) the
     European Commission had increased its scrutiny of the
     Merger after the MIT exposé in December 2022 and sent
     Amazon detailed questions over the Merger which were
     not resolved, increasing the regulatory threat to the
     Merger; (b) regulators had expressed concern that the
     Merger would allow Amazon and iRobot to exercise
     significant control over the RVC market, threatening
     competition; (c) the Merger faced significant
     resistance from regulators at the FTC and European
     Commission due to antitrust and privacy concerns that
     were expressed to Merger participants and known
     internally at iRobot, making its approval unlikely;
     (d) Amazon, with iRobot’s knowledge, was not
     cooperating with governmental regulators, and instead
     had refused to respond to the regulatory requests for
     information, thereby increasing the likelihood that
     regulators would oppose the Merger.

Id. ¶¶ 90, 92.   Despite iRobot’s poor quarter, the Company’s

stock price remained steady.    Id. ¶ 93.

            7. Amazon, Purportedly with iRobot’s Knowledge,
               Engages in a Strategy of Obstruction and Non-
               Cooperation

     On March 20, 2023, Politico reported on the FTC’s

investigations into Amazon, including on its proposed Merger

with iRobot, and stated that the FTC was weighing whether to

challenge the Merger and was leaning towards suing to stop the

Merger.   Id. ¶ 94.   While the FTC had not yet decided whether to

sue to block the Merger, the article cited FTC staff raising

competition and privacy concerns.       Id.   Notably, despite iRobot


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and Amazon’s commitment in the Merger Agreement to use

“reasonable best efforts” to obtain regulatory clearance and to

“supply as promptly as reasonably practicable any additional

information and documentary material” requested or required, the

article reported that Amazon had been “largely unresponsive to

the FTC’s investigation” and “refus[ed] to turn over information

requested by the FTC.”      Id.   This article relied entirely on

unnamed sources.   Id.

     Premca asserts that pursuant to the Merger Agreement and

its commitment for Amazon and iRobot to share information

related to governmental requests about the Merger, iRobot would

have known about both the FTC’s requests and Amazon’s refusal to

cooperate.   FAC ¶ 94.   Neither company admitted to the facts

asserted in the Politico article, and Amazon claimed it was, in

fact, cooperating.   Id.

     Sometime in May 2023, according to CW2, at a Senior

Leadership Team Meeting with Angle and Zeiler, iRobot’s Chief

Legal Officer, Glen Weinstein (“Weinstein”), announced to iRobot

employees that European Commission regulators had asked Amazon

for information on how its search engine worked, due to

antitrust concerns over Amazon boosting its own products at the

expense of competitors, and Amazon steadfastly refused to

cooperate with regulators’ requests.       Id. ¶ 95.



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     On May 9, 2023, iRobot filed a Form 8-K announcing its

first quarter 2023 financial results.      Id. ¶ 96.       In that Form

8-K, iRobot informed investors that the Company’s revenue

continued to decline. Id.    The May 9th Form 8-K did not disclose

any increase in regulatory risks, instead repeating the same

“boilerplate” risk warnings that were issued in August 2022

after the Merger was announced.     Id. ¶ 97 (“Statement No. 5”).

According to Premca, these statements were materially false or

misleading when made because they failed to disclose the

following material adverse information necessary to make the

statements not misleading:

     (a) the European Commission and FTC had taken concrete
     steps to increase their scrutiny of the Merger,
     including sending Amazon detailed questions and
     requests for information over the Merger which were
     not resolved, increasing the regulatory threat to the
     Merger;

     (b) regulators had expressed concern that the Merger
     would allow Amazon and iRobot to exercise significant
     control over the RVC market, threatening competition;

     (c) the Merger faced significant resistance from
     regulators at the FTC and European Commission due to
     antitrust and privacy concerns that were expressed to
     Merger participants and known internally at iRobot,
     making its approval unlikely;

     (d) Amazon, with iRobot’s knowledge, was not
     cooperating with governmental regulators, and instead
     had refused to respond to the regulatory requests for
     information, thereby increasing the likelihood that
     regulators would oppose the Merger[.]

Id. ¶ 98.


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     On May 9, 2023, iRobot also filed its Form 10-Q with the

SEC for the first quarter of fiscal year 2023, ended April 1,

2023 (the “Q1 2023 Form 10-Q”).     The Q1 2023 Form 10-Q was

signed by Zeiler.   Id. ¶ 99 (“Statement No. 6”).          Appended as

exhibits to the Q1 2023 Form 10-Q were signed certifications by

Zeiler and Angle.   Id ¶ 102 (“Statement No. 7”).

     Premca asserts that the above statements were materially

false or misleading when made because:

     (1) iRobot and Amazon were not “work[ing]
     cooperatively” with governmental regulators, but
     instead taking an adversarial approach in refusing to
     provide requested information or answer regulators’
     questions; and

     (2) the statements omitted to disclose the following
     material adverse information necessary to make the
     statements made not misleading:

          (a) the European Commission and FTC had taken
          concrete steps to increase their scrutiny of the
          Merger, including sending Amazon detailed
          questions and requests for information over the
          Merger which were not resolved, increasing the
          regulatory threat to the Merger;

          (b) regulators had expressed concern that the
          Merger would allow Amazon and iRobot to exercise
          significant control over the RVC market,
          threatening competition;

          (c) the Merger faced significant resistance from
          regulators at the FTC and European Commission due
          to antitrust and privacy concerns that were
          expressed to Merger participants and known
          internally at iRobot, making its approval
          unlikely;

          (d) Amazon, with iRobot’s knowledge, was not
          cooperating with governmental regulators, and

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            instead had refused to respond to the regulatory
            requests for information, thereby increasing the
            likelihood that regulators would oppose the
            Merger[.]

Id. ¶¶ 100, 103.

       According to Premca, despite iRobot issuing another quarter

of poor results, the Company’s stock price remained artificially

high because investors expected the Merger’s approval.            Id. ¶

104.   According to one analyst report, the stock remained in

“limbo” as the FTC evaluated the Merger.        Id. (citation

omitted).

              8. The Purported True Risk of Amazon’s Non-Cooperation
                 and Regulatory Disapproval Starts to Be Revealed as
                 the EC Announces a Full-Scale Investigation

       On June 1, 2023, almost a year after iRobot announced its

Merger with Amazon, the companies officially notified the EC of

the Merger.    Id. ¶ 105.    Shortly thereafter, the EC initiated

its Phase I review.    Id.

       On June 16, 2023, Reuters reported that the Merger was

cleared to proceed by the United Kingdom.        Id. ¶ 106.      The

article quoted the defendant Angle as confirming that “both

companies are continuing to work cooperatively with other

relevant regulators in their review of the merger.”           Id.

(“Statement No. 8”).    News of the United Kingdom’s Competition

and Markets Authority (“UK CMA”) clearance was almost

immediately undercut by commentators at the time.           Id. ¶ 108.


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       On June 22, 2023, shortly after markets opened, news

outlets reported that the EC was planning to launch a full-scale

investigation into the Merger.       Id. ¶ 109.       iRobot’s stock price

fell from $49.66 by $5.17, or 10.4%, to a low of $44.49, before

rebounding to close at $45.41 on June 22, 2023.                Id. ¶ 110.

Premca, however, claims that iRobot shares continued trading at

artificially inflated prices throughout the remainder of the

Class Period due to the Defendants’ continued misstatements and

omissions concerning the Merger, Amazon and iRobot’s

interactions with regulators, and the Merger’s true regulatory

prospects.     Id.

       On July 6, 2023, the EC issued a press release confirming

that it had initiated a Phase II review of the Merger.                Id. ¶

111.

              9. iRobot’s Financial Issues Require Additional Credit
                 and a Modification to the Merger Agreement

       On July 24, 2023, iRobot filed a Form 8-K announcing that

it had entered into a credit agreement with TCG Senior Funding

L.L.C. for a loan of $200,000,000.           Id. ¶ 112.    The credit

agreement was necessary because of iRobot’s continued dwindling

cash reserves and delay in the Merger’s regulatory approval.

Id.

       On July 25, 2023, iRobot and Amazon issued a joint press

release (the “Modified Merger Announcement”) “announc[ing] that


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they [had] agreed to amend the existing terms of their merger

agreement to reflect a change to the price per share” whereby

“Amazon [would] pay $51.75 per share revised from $61.00 per

share” (the “Amended Merger Agreement”).          Id. ¶ 113.      The

Modified Merger Announcement purportedly downplayed the European

Commission’s investigation into the Merger, stating, in relevant

part, that “[c]ompletion of the transaction remains subject to

customary closing conditions, including regulatory approvals and

approval of the amended merger agreement by iRobot’s

stockholders”; and that “Amazon and iRobot are working

cooperatively with the relevant regulators in their review of

the merger.”     Id. (“Statement No. 9”).

              10. Amazon and iRobot Begin to Halt Integration
                 Meetings

       Right after the Merger was announced, Amazon and iRobot

began to conduct monthly (and sometimes weekly) meetings to

address integration.      Id. ¶ 116.    The two companies had separate

meetings for nine different work streams, including finance,

production, research and development, and real estate.              Id.   CW2

routinely attended the monthly real estate integration meeting.

Id.    According to that confidential witness, however, in August

2023, shortly after the EC announced its formal probe of the

Merger, the real estate integration meetings ceased.              Id.




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Confidential Witness 3 (“CW3”)4 purportedly “corroborated” CW2,

apparently in reference to CW2’s statement that real estate

integration meetings had stopped.          Id. ¶ 118.    According to CW3,

employees in iRobot’s software engineering department stopped

working on all integration matters with Amazon in August 2023.

Id.

       At the same time that Amazon and iRobot were supposedly

closing down integration meetings, according to CW3, Weinstein

stated during a meeting with Angle, Zeiler, and other iRobot

executives that Amazon was refusing to cooperate with the EU

Commission.     Id. ¶ 119.     Specifically, Weinstein announced that

the EC had requested information about how Amazon’s search

engine worked, in order to determine whether Amazon was favoring

its internal products to the detriment of competition, but

Amazon refused to cooperate or share that information.              Id.

Nevertheless, when speaking with investors, the Defendants

failed to disclose this purportedly heightened risk.              Id.

Premca claims that although the purported refusal to cooperate

threatened Merger approval, the Defendants continued to “parrot”




       4iRobot employed CW3 from April 2021 to May 2024 as a
director-level employee. FAC ¶ 117. CW3’s job responsibilities
included overseeing the Company’s user experience and software
design. Id.

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their expectation that regulators would approve the Merger, and

mislead investors about cooperation.      Id.

        On August 8, 2023, iRobot filed a Form 8-K, announcing its

second quarter 2023 financial results.      Id. ¶ 120.       iRobot

informed investors of its amendment to the Merger Agreement to

lower the acquisition price.    Id. (“Statement No. 10”).

When discussing risks with the Company, iRobot restated the

“carbon-copy” risks that it had used since the beginning of the

Class Period.    Id. ¶ 122 (“Statement No. 11”).

        That same day, iRobot also filed its Form 10-Q with the SEC

for the second quarter of fiscal year 2023, which ended July 1,

2023 (the “Q2 2023 Form 10-Q”).     Id. ¶ 124.     (“Statement No.

12”).    When discussing the risks to the iRobot, iRobot repeated

the same risk warnings that it had used right after the Merger

was announced.    Id. ¶ 126 (“Statement No. 13”).          Appended as

exhibits to the Q2 2023 Form 10-Q were signed certifications by

Zeiler and Angle.    Id. ¶ 128 (“Statement No. 14”).

        According to Premca, the August 8, 2023 statements were

materially false and/or misleading when made because the

statements omitted to disclose the following material adverse

information necessary to make the statements made not

misleading:

        (a) the European Commission and FTC had taken concrete
        steps to increase their scrutiny of the Merger,
        including sending Amazon detailed questions and

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     requests for information over the Merger which were
     not resolved, increasing the regulatory threat to the
     Merger;

     (b) regulators had expressed concern that the Merger
     would allow Amazon and iRobot to exercise significant
     control over the RVC market, threatening competition;

     (c) the Merger faced significant resistance from
     regulators at the FTC and European Commission due to
     antitrust and privacy concerns that were expressed to
     Merger participants and known internally at iRobot,
     making its approval unlikely;

     (d) Amazon, with iRobot’s knowledge, was not
     cooperating with governmental regulators, and instead
     had refused to respond to the regulatory requests for
     information, thereby increasing the likelihood that
     regulators would oppose the Merger;

     (e) Amazon and iRobot ceased holding integration
     meetings between the companies, indicating an
     increased pessimism over the Merger receiving
     regulatory approval[.]

Id. ¶¶ 123, 125, 127, & 129.

     On August 24, 2023, iRobot filed a definitive proxy

statement (the “Modified Merger Proxy Statement”) with the SEC

on Form DEFM14A, signed by Angle, in connection with the Amended

Merger Agreement.   Id. ¶ 130.   The Modified Merger Proxy

Statement used substantially similar language as the original

Proxy Statement.    Id. (“Statement No. 15”).

     According to Premca, the above statements were materially

false and/or misleading when made because:

     (1) iRobot and Amazon did not subjectively expect that
     the Merger would receive all regulatory approvals, as
     reflected in their decision to cease many integration
     activities;

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     (2) iRobot had no reasonable basis that the Merger
     would be approved, since it and Amazon ceased
     “work[ing] cooperatively” with governmental regulators
     and adopted an adversarial approach, refusing to
     provide requested information or answer regulators’
     questions;

     (3) “intensifying competitive conditions” did not
     support Merger, but instead, regulators had expressed
     concerns over the Merger worsening competitive
     conditions; and

     (4) the statements omitted to disclose the following
     material adverse information necessary to make the
     statements made not misleading: (a) the European
     Commission and FTC had taken concrete steps to
     increase their scrutiny of the Merger, including
     sending Amazon detailed questions and requests for
     information over the Merger which were not resolved,
     increasing the regulatory threat to the Merger; (b)
     regulators had expressed concern that the Merger would
     allow Amazon and iRobot to exercise significant
     control over the RVC market, threatening competition;
     (c) the Merger faced significant resistance from
     regulators at the FTC and European Commission due to
     antitrust and privacy concerns that were expressed to
     Merger participants and known internally at iRobot,
     making its approval unlikely; (d) Amazon, with
     iRobot’s knowledge, was not cooperating with
     governmental regulators, and instead had refused to
     respond to the regulatory requests for information,
     thereby increasing the likelihood that regulators
     would oppose the Merger; (e) Amazon and iRobot ceased
     holding integration meetings between the companies,
     indicating an increased pessimism over the Merger
     receiving regulatory approval[.]

Id. ¶ 132.

     In addition, the Modified Merger Proxy Statement told

investors that Company management’s and the Board’s review of

“intensifying competitive conditions” in iRobot’s market weighed

in favor of the Merger’s approval.        Id. ¶ 131 (“Statement No.

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16.”).    On October 12, 2023, iRobot shareholders voted in favor

of the Merger.    Id.

       On August 29, 2023, the EC suspended the Merger’s Phase II

deadline so that regulators could obtain additional information

on the Merger.    Id. ¶ 133.    The EC ultimately gained the

requested information and formally restarted the clock on its

Phase II investigation of the Merger on October 19, 2023, and

set a deadline of February 14, 2024 to decide whether or not to

approve the Merger.     Id.

              11. In Fall 2023, the Merger’s Failure to Obtain
                 Regulatory Approval Purportedly Appears Likely to
                 iRobot Executives

       According to CW2, in September 2023, during monthly Senior

Leadership Team Meetings, iRobot executives internally

formulated plans for the business without the Merger.             Id. ¶

134.   This allegedly reflected a growing understanding within

the Company that the Merger was unlikely to be approved by

regulators.    Id.

       Further, in August 2023, the long-time Amazon executive who

led Amazon’s push for the Merger, Senior Vice President of

Devices and Services Dave Limp, announced his plans to leave

Amazon.   Id. ¶ 135.    In September 2023, it was announced that he

would be replaced by Panos Panay (“Panay”), who was less

supportive of the Merger.      Id.    Panay took full control as

Amazon’s Senior Vice President of Devices and Services by

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October 2023.   Id.   At that time, all remaining integration

meetings between Amazon and iRobot ceased.        Id.

     According to Confidential Witness 4 (“CW4”),5 who attended

weekly and monthly integration meetings, by October 2023 all

integration meetings between iRobot and Amazon had stopped,

indicating that iRobot no longer believed that the Merger would

receive regulatory approval.    Id. ¶ 137.

     On November 7, 2023, iRobot filed its Form 10-Q with the

SEC for the third quarter of fiscal year 2023, which ended

September 30, 2023 (the “Q3 2023 Form 10-Q”).         Id. ¶ 138

(“Statement No. 17”).   Further, when discussing the risks to the

Merger, the Company used the same language it had used

throughout the Class Period with little alteration.          Id. ¶ 140

(“Statement No. 18”).   Appended as exhibits to the Q3 2023 Form

10-Q were signed certifications by Zeiler and Angle.           Id. ¶ 142

(“Statement No. 19”).

     According to Premca, these statements were materially false

or misleading when made because the statements omitted to

disclose the following material adverse information necessary to

make the statements made not misleading:



     5  iRobot employed Confidential Witness 4 (“CW4”) as a
Senior Project Manager between June 2020 and May 2024. FAC ¶
136. CW4’s job responsibilities included overseeing iRobot’s
then-burgeoning subscription business and assisting with
iRobot’s mergers and acquisitions. Id.

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     (a) the European Commission and FTC had taken concrete
     steps to increase their scrutiny of the Merger,
     including sending Amazon detailed questions and
     requests for information over the Merger which were
     not resolved, increasing the regulatory threat to the
     Merger;

     (b) regulators had expressed concern that the Merger
     would allow Amazon and iRobot to exercise significant
     control over the RVC market, threatening competition;

     (c) the Merger faced significant resistance from
     regulators at the FTC and European Commission due to
     antitrust and privacy concerns that were expressed to
     Merger participants and known internally at iRobot,
     making its approval unlikely;

     (d) Amazon, with iRobot’s knowledge, was not
     cooperating with governmental regulators, and instead
     had refused to respond to the regulatory requests for
     information, thereby increasing the likelihood that
     regulators would oppose the Merger;

     (e) Amazon and iRobot ceased holding integration
     meetings between the companies, indicating an
     increased pessimism over the Merger receiving
     regulatory approval;

     (f) iRobot began, for the first time, to formulate
     alternative plans for the Company in September 2023 in
     preparation for the Merger to be rejected by
     regulators[.]

Id. ¶¶ 139, 141, 143.

           12. The Purported “Full Truth” is Gradually Revealed

     On November 27, 2023, the European Commission issued a

press release, entitled “Commission sends Amazon Statement of

Objections over proposed acquisition of iRobot,” describing its

objections to the merger.    Id. ¶ 144.    In response, iRobot filed

a Form 8-K on the same day announcing the same and relating the


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relevant timeline.   Id. ¶ 145 (“Statement No. 20”).         iRobot

again repeated the same risk warnings that it had used

throughout the Class Period.    Id. ¶ 146 (“Statement No. 21”).

According to Premca, these statements were false and/or

misleading when made because they failed to disclose the

following material adverse information necessary to make the

statements not misleading:

     (a) regulators had expressed concern that the Merger
     would allow Amazon and iRobot to exercise significant
     control over the RVC market, threatening competition;

     (b) the Merger faced significant resistance from
     regulators at the FTC and European Commission due to
     antitrust and privacy concerns that were expressed to
     Merger participants and known internally at iRobot,
     making its approval unlikely; (c) Amazon, with
     iRobot’s knowledge, was not cooperating with
     governmental regulators, and instead had refused to
     respond to the regulatory requests for information,
     thereby increasing the that regulators would oppose
     the Merger; (d) Amazon and iRobot ceased holding
     integration meetings between the companies, indicating
     an increased pessimism over the Merger receiving
     regulatory approval; (e) iRobot began, for the first
     time, to formulate alternative plans for the Company
     in September 2023 in preparation for the Merger to be
     rejected by regulators; (f) Amazon did not plan to
     offer any concessions to regulators in order to
     appease their objections to the Merger, increasing the
     likelihood that regulators would oppose the Merger[.]

Id. ¶ 147.   Upon news of the EC’s objections, iRobot’s

stock price fell 26%, to a low of $31.13 before rebounding

to close at $34.35 on November 27, 2023.       Id. ¶ 148.

     On December 12, 2023, it was announced that Amazon would

defend the Merger at a closed European Commission hearing on

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December 18, 2023.   Id. ¶ 149.    According to Premca, pursuant to

the Merger Agreement’s cooperation provision, iRobot would have

been informed of Amazon’s plans for the December 18, 2023

hearing, coordinated strategy, and been debriefed on the hearing

itself.   Id.

     On January 10, 2024, during intraday trading hours, news

outlets reported that Amazon refused to offer concessions to

address concerns raised by the European Commission.          Id. ¶ 150.

One such article published that day by Politico, entitled

“Amazon skips concessions to EU on iRobot deal,” reported, in

relevant part:

          Amazon didn’t offer concessions to the European
     Commission to try to garner approval for its planned
     $1.4 billion takeover of robot vacuum cleaner maker
     iRobot.
          The European Union’s webpage on the deal shows
     that the companies didn’t make an offer by the end of
     the day on Wednesday, its last chance to tackle
     European Union objections that Amazon could hamper
     rival vacuum cleaners’ sales on Amazon’s online
     marketplace. Regulators have said the sales platform
     is a particularly important sales channel for the
     product.
          * * *
          iRobot’s [CEO Defendant] Angle said in a
     statement that the company “continues to work
     cooperatively with the [European Commission] and other
     regulators in their review of the merger . . . We
     remain excited about the opportunity to work together
     with Amazon to continue innovating, bringing valuable
     products to customers and making their lives easier.”




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Id. ¶ 150 (“Statement No. 22”).     According to Premca, the above

statements were materially false or misleading when made

because:

     (1) contrary to Angle’s statements, the companies were
     not working cooperatively with regulators, but instead
     refusing to respond to regulators’ investigation and
     requests for information, and refused to offer any
     concessions to regulators; and

     (2) the statements omitted to disclose the following
     material adverse information necessary to make the
     statements made not misleading: (a) regulators had
     expressed concern that the Merger would allow Amazon
     and iRobot to exercise significant control over the
     RVC market, threatening competition; (b) the Merger
     faced significant resistance from regulators at the
     FTC and European Commission due to antitrust and
     privacy concerns that were expressed to Merger
     participants and known internally at iRobot, making
     its approval unlikely; (c) Amazon, with iRobot’s
     knowledge, was not cooperating with governmental
     regulators, and instead had refused to respond to the
     regulatory requests for information, thereby
     increasing the likelihood that regulators would oppose
     the Merger; (d) Amazon and iRobot ceased holding
     integration meetings between the companies, indicating
     an increased pessimism over the Merger receiving
     regulatory approval; (e) iRobot began, for the first
     time, to formulate alternative plans for the Company
     in September 2023 in preparation for the Merger to be
     rejected by regulators; (f) Amazon refusal to offer
     any concessions to regulators in order to appease
     their objections to the Merger significantly
     increasing the likelihood that regulators would oppose
     the Merger[.]

Id. ¶ 151.

     On this news, iRobot’s stock price fell from $36.99 by

$7.99, or 21.6%, to $29, before rebounding to close at $29.75

per share on January 10, 2024.    Id. ¶ 152.


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     On January 11, 2024, the EU Competition Commissioner

Margaret Vestager confirmed to Bloomberg that no concessions

were offered with respect to the Merger.       Id. ¶ 153.

     On January 18, 2024, during post-market hours, the Wall

Street Journal published an article (the “WSJ Article”) entitled

“EU Commission Intends to Block Amazon’s iRobot Acquisition,”

which stated, in relevant part:

          The European Union’s competition watchdog intends
     to block Amazon’s $1.7 billion bid to purchase Roomba
     maker iRobot, people familiar with the matter said.

          Competition officials from the European
     Commission, the bloc’s executive body, met Thursday
     with representatives from Amazon to discuss the deal,
     one of those people said. Amazon was told during the
     meeting that the deal was likely to be rejected, the
     person said. Amazon declined to comment.

          The plan to reject the deal would still need
     formal approval from the commission’s 27 top political
     leaders before a final decision can be issued.
     Historically, that process is unlikely to overrule a
     recommendation from the bloc’s competition
     commissioner, Margrethe Vestager. The commission has
     a Feb. 14 deadline for its final decision.

Id. ¶ 154.

     Also on January 18, 2024, during post-market hours,

Bloomberg published an article entitled “Amazon’s $1.4 Billion

iRobot Deal to Be Blocked by EU Antitrust Watchdog” (the

“Bloomberg Article”), which corroborated the findings of the

earlier WSJ Article.   Id. ¶ 155.




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        The next day, during intraday trading hours, Bloomberg

updated the Bloomberg Article, reporting that the FTC was

drafting a lawsuit to block the Merger, stating, in relevant

part:

        The deal is likely to face opposition in the US as
        well. According to people familiar with the matter,
        the [FTC] has been drafting a lawsuit that would seek
        to block the acquisition. The FTC’s three
        commissioners haven’t yet voted on a challenge nor had
        a final meeting with Amazon to discuss the potential
        case, said the people, who asked not to be named
        discussing an ongoing probe.

Id. ¶ 156.

        On January 24, 2024, representatives from iRobot attended a

closed meeting with the FTC.        Id. ¶ 158.     No details emerged

from the meeting at the time, but it was later revealed that

Amazon also attended a meeting with the FTC around the same time

in which the FTC informed Amazon that it planned to vote to sue

to block the Merger.      Id.    Either at its own meeting with the

FTC or, pursuant to the Merger Agreement’s cooperation

provision, through communication with Amazon, the Defendants

were allegedly informed that the FTC would oppose the Merger.

Id.

        On January 29, 2024, during pre-market hours, Amazon and

iRobot issued a joint press release entitled “Amazon and iRobot

Agree to Terminate Pending Acquisition,” announcing their entry




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“into a mutual agreement” to terminate the Merger.

Specifically, that press release stated, in relevant part:

          Today Amazon . . . and iRobot . . . announced
     that they have entered into a mutual agreement to
     terminate their previously announced acquisition
     agreement, originally signed on August 4, 2022, under
     which Amazon would have acquired iRobot for cash
     consideration.
          * * *
          The companies have signed a termination agreement
     that resolves all outstanding matters from the
     transaction, including Amazon paying iRobot the
     previously agreed upon termination fee.

Id. ¶ 159.

     Pursuant to the Merger Agreement, iRobot received a cash

infusion in the form of a $94,000,000 termination fee from

Amazon.   Id. ¶ 160.

     Also on January 29, 2024, during pre-market hours, iRobot

issued a press release entitled “iRobot Announces Operational

Restructuring Plan to Position Company for the Future,” which,

among other things, reported that the Company would reduce its

workforce by “approximately 350 employees, which represents 31

percent of the Company’s workforce as of December 30, 2023,” and

that, “[a]s part of this workforce reduction, iRobot expects to

record restructuring charges totaling between $12 million and

$13 million, primarily for severance and related costs, over the

first two quarters of 2024, with the majority of the

restructuring charges anticipated in the first quarter of 2024.”

The same press release also disclosed that “[c]oncurrent with

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the implementation of its operational restructuring plan . . .

[Defendant] Angle, Chairman of the Board . . . and CEO, has

stepped down as Chairman and CEO.”        Id. ¶ 161.

     Later that same day, Reuters published an article entitled

“Amazon, Roomba-parent iRobot abandon $1.4 billion merger deal,”

which revealed, inter alia, that FTC staff had notified Amazon

the week before that it planned to block the Merger, stating, in

relevant part:

          Separately, the [FTC] was poised to reject
     Amazon’s deal before the companies announced they were
     abandoning it, a source told Reuters.
          * * *
          The FTC staff met with Amazon last week to inform
     them they planned to recommend the commission vote to
     sue to block the acquisition, the source added, saying
     the commission was set to hold a final meeting on
     Monday with Amazon before the commission could have
     voted to approve a legal challenge to the merger.

Id. ¶ 162.

III. ANALYSIS

     A.      Motion to Dismiss Standard and Securities Act Pleading
             Standards

     In order to withstand a motion to dismiss, Premca’s FAC

must “state a claim upon which relief can be granted.”            Fed. R.

Civ. P. 12(b)(6).    That is, Premca’s FAC must include sufficient

factual allegations that, accepted as true, “state a claim to

relief that is plausible on its face.”       Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007).        Under this standard, the

Court must “accept well-pleaded factual allegations in [Premca’s

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FAC] as true and view all reasonable inferences in [its] favor.”

Zhou v. Desktop Metal, Inc., 120 F. 4th 278, 287 (1st Cir. Oct.

28, 2024) (quoting ACA Financial Guaranty Corp. v. Advest, Inc.,

512 F.3d 46, 58 (1st Cir. 2008)).       The Court does not, however,

“draw unreasonable inferences or credit bald assertions [or]

empty conclusions,”   Guilfoile v. Shields, 913 F.3d 178, 186

(1st Cir. 2019) (quoting Theriault v. Genesis HealthCare LLC,

890 F.3d 342, 348 (1st Cir. 2018)), and disregards allegations

that “merely offer legal conclusions couched as fact or

threadbare recitals of the elements of a cause of action,”

Ocasio-Hernández v. Fortuño-Burset, 640 F.3d 1, 12 (1st Cir.

2011) (cleaned up).   As set forth below, “[b]ecause [Premca]

brought federal securities fraud claims, several additional

legal standards apply.”     Zhou, 120 F. 4th at 287.

     “To state a claim under section 10(b), [the FAC] must

allege: ‘(1) a material misrepresentation or omission; (2)

scienter; (3) a connection with the purchase or sale of a

security; (4) reliance; (5) economic loss; and (6) loss

causation.’”   Quinones v. Frequency Therapeutics, Inc., 106 F.

4th 177, 182 (1st Cir. 2024) (quoting In re Biogen Inc. Sec.

Litig., 857 F.3d 34, 41 (1st Cir. 2017)).       “Further, under Rule

9(b) [of the Federal Rules of Civil Procedure], as with all

fraud claims, [Premca] is required to plead the circumstances of

the securities fraud with particularity. . . . And, under the

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[Private Securities Litigation Reform Act (“PSLRA”), 15 U.S.C. §

78u-4, Premca] must ‘specify each statement alleged to have been

misleading [and] the reason or reasons why the statement is

misleading.’”    Zhou, 120 F. 4th at 287 (quoting ACA Fin. Guar.

Corp., 512 F.3d at 58).     The First Circuit “has been notably

strict and rigorous in applying the Rule 9(b) standard in

securities fraud actions.”     Greebel v. FTP Software, Inc., 194

F.3d 185, 193 (1st Cir. 1999) (citing Maldonado v. Dominguez,

137 F.3d 1, 9 (1st Cir. 1998)).      Rule 9(b) provides that “[i]n

all averments of fraud or mistake, the circumstances

constituting fraud or mistake shall be stated with

particularity.    Malice, intent, knowledge, and other condition

of mind of a person may be averred generally.” Fed. R. Civ. P.

9(b).    This Circuit has interpreted Rule 9(b) to require

“specification of the time, place, and content of an alleged

false representation.”      Greebel, 194 F.3d at 193 (quoting

McGinty v. Beranger Volkswagen, Inc., 633 F.2d 226, 228 (1st

Cir. 1980)).

        Here, iRobot successfully challenges elements one (falsity)

and two (scienter).    iRobot Mem. 2-3.     Both elements are

addressed below.

        B.   Material Misrepresentation/Omission Element

        “The securities statutes seek to maintain public confidence

in the marketplace.”    Dura Pharmaceuticals, Inc. v. Broudo, 544

                                  [37]
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U.S. 336, 345 (2005).    Securities statutes “make the . . .

actions available, not to provide investors with broad insurance

against market losses, but to protect them against those

economic losses that misrepresentations actually cause.”             Hill

v. Gozani, 638 F.3d 40, 53-54 (1st Cir. 2011) (alterations in

original) (quoting Dura Pharm., 544 U.S. at 345).           “To survive a

motion to dismiss, [Premca] ‘must show that defendants made a

materially false or misleading statement or omitted to state a

material fact necessary to make a statement not misleading.’”

Quinones v. Frequency Therapeutics, Inc., 665 F. Supp. 3d 156,

167 (D. Mass. 2023) (quoting Ganem v. InVivo Therapeutics

Holdings Corp., 845 F.3d 447, 454 (1st Cir. 2017)).           The

pleading standard is stiff, requiring that Premca “specify each

statement alleged to have been misleading [and] the reason or

reasons why the statement is misleading.’”         Id. at 168

(alteration in original) (quoting Ganem, 845 F.3d at 455).

“Importantly, section 10(b) and Rule 10b-5 only prohibit

omissions that engender ‘half-truths.’”        Zhou, 120 F. 4th at 292

(quoting Macquarie Infrastructure v. Moab Partners, L. P., 601

U.S. 257, 263 (2024)).      Indeed, “section 10(b) and Rule 10b-5

‘do not create an affirmative duty to disclose any and all

material information.’”     Id. (quoting Matrixx Initiatives, Inc.

v. Siracusano, 563 U.S. 27, 44 (2011)).        Said another way, “[a]n

omission, even if material, is actionable only if it ‘renders

                                  [38]
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affirmative statements made misleading.’”       Id. (quoting

Macquarie Infrastructure, 601 U.S. at 265).        As to materiality,

“a fact or omission is material if a ‘reasonable investor would

have viewed it as having significantly altered the total mix of

information made available.’”    Id. (quoting Ponsa-Rabell v.

Santander Sec. LLC, 35 F. 4th 26, 33 (1st Cir. 2022)).

     iRobot categorizes the 22 alleged statements identified

above into five somewhat overlapping groups, four of which are

analyzed here:

     (1)   statements that iRobot and Amazon were “working
           cooperatively” with regulators (Statement Nos. 2
           (FAC ¶ 88), 6 (FAC ¶ 99), 8 (FAC ¶ 106), 9 (FAC ¶
           113), 15 (FAC ¶ 130), and 22 (FAC ¶ 150));

     (2)   statements describing the status of the Merger
           and the antitrust reviews (Statement Nos. 2 (FAC
           ¶ 88), 5 (FAC ¶ 97), 6 (FAC ¶ 99), 9 (FAC ¶ 113),
           10 (FAC ¶ 120), 12 (FAC ¶ 124), 15 (FAC ¶ 130),
           16 (FAC ¶ 131); 17 (FAC ¶ 138), 18 (FAC ¶ 140),
           and 20 (FAC ¶ 145));

     (3)   risk factor disclosures about the Merger
           (Statement Nos. 1 (FAC ¶ 86), 3 (FAC ¶ 89), 5
           (FAC ¶ 97), 11 (FAC ¶ 122), 13 (FAC ¶ 126), 15
           (FAC ¶ 130), 18 (FAC ¶ 140), and 21 (FAC ¶ 146));

     (4)   Sarbanes-Oxley Act (“SOX”) certifications
           (Statement Nos. 4 (FAC ¶ 91), 7 (FAC ¶ 102), 14
           (FAC ¶ 128), and 19 (FAC ¶ 142)).

iRobot Mem. 8 (citing FAC ¶¶ 86-150).6


     6  Although iRobot argues that certain statements are
optimistic and forward-looking statements about the Merger are
not actionable as opinion or under the PSLRA’s safe harbor
provision, the Court need not evaluate reach these issues
because “this Court concludes that the facts alleged in the
                                 [39]
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          1.   Cooperation with Regulators Statements

     Premca argues that statements relating to cooperation with

regulators are, in general, actionable, citing Ho v. Duoyuan

Glob. Water, Inc., 887 F. Supp. 2d 547, 571–72 (S.D.N.Y. 2012)

(finding actionable claims based on misrepresentations of “full”

cooperation with audit), and Special Situations Fund III, L.P.

v. American Dental Partners, Inc., 775 F. Supp. 2d 227, 241–42

(D. Mass. 2011) (finding actionable claims based on

misrepresentation that defendants’ conduct toward business

partner had not changed).    Premca Opp’n 8-9.      There is no real

dispute that claims concerning cooperation in a merger could be

actionable in theory.   Premca’s claim is that iRobot was aware

that Amazon was, from the outset and through the Class Period,

not cooperating with regulators in the face of increasing

regulatory and public pressure against the Merger, and that

therefore its SEC filings and public statements at issue here

were false or misleading.    Id.

     iRobot argues that the allegations based on cooperation

statements (Statement Nos. 2 (FAC ¶ 88), 6 (FAC ¶ 99), 8 (FAC ¶

106), 9 (FAC ¶ 113), 15 (FAC ¶ 130), and 22 (FAC ¶ 150)) are


[FAC] do not plausibly show that the defendants made materially
false or misleading statements or omissions, nor do they
establish a strong inference of scienter.” Brill v. Invivyd,
Inc., No. 1:23-CV-10254-JEK, 2024 WL 4228832, at *7 (D. Mass.
Sept. 18, 2024) (Kobick, J.).


                                   [40]
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unsupported by plausibly pleaded facts, supported by

confidential witnesses whose allegations fail under the “hard

look” that the First Circuit prescribes, and supported by

speculative news articles.    iRobot Mem. 9.

     As an initial matter, the parties devote much argument to

the definition of the word “cooperation.”       See Premca Opp’n 9-

13; Reply 1-3.   Premca claims that arguments about the

definition of cooperation result in a fact question that must be

resolved at the merits stage.    Premca Opp’n 9 (citing Gerneth v.

Chiasma, Inc., 2018 WL 935418, at *5 (D. Mass. Feb. 15, 2018)

(Casper, J.) (noting, regarding a dispute as to the materiality

of a regulator’s reservations, that “the Court cannot consider

that disputed issue of fact on a motion to dismiss”)).           To be

sure, “cooperate,” “cooperation,” “cooperative,” and “working

cooperatively” have meanings that are highly context-dependent.

Nevertheless, in the context of an antitrust regulator’s review

of a merger, iRobot is correct to observe, relying on the FTC

merger guidance materials, that “working cooperatively” or

“cooperation” is not equivalent to the “total capitulation”

definition argued for by Premca.     Reply 1.

     The Court, however, need not get into the definitional

weeds as to cooperation, because it is the paucity of plausibly

pleaded facts, not the definition of “cooperation,” that makes

the FAC deficient.   As iRobot persuasively argues, “[t]he

                                 [41]
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failure to allege particularized facts supporting falsity is not

an evidentiary matter, but is instead a facial pleading

deficiency under the PSLRA and Rule 9(b).”        Reply 6.     Premca’s

pleading problem is that it identifies discrete, though

imprecise, points in time that Amazon purportedly did not

provide certain information to the EC, without any context

behind the request or the refusal that would make the alleged

lack of “cooperation” grounds for an action of fraud.

                      EC Cooperation

       Premca argues that the following virtually identical

statements indicate a lack of cooperation by Amazon:

       (1)   a June 16, 2023 statement attributed to Angle in a
             Reuters article discussing the UK CMA’s approval of
             the Merger in which he said that “both companies are
             continuing to work cooperatively with other relevant
             regulators in their review of the merger” (Statement
             No. 8, FAC ¶ 106);

       (2)   a July 25, 2023 statement in a iRobot and Amazon joint
             press release that said “Amazon and iRobot are working
             cooperatively with the relevant regulators in their
             review of the merger” (Statement No. 9, FAC ¶ 113);
             and

       (3)   a January 10, 2024 statement attributed to Angle in a
             Politico article in which he said “the [C]ompany
             ‘continues to work cooperatively with the [European
             Commission] and other regulators in their review of
             the merger.’” (Statement No. 22, FAC ¶ 150).

iRobot Mem. 10.    Premca relies on two confidential witnesses –-

CW2 and CW3 -- to support its cooperation claims.          FAC ¶¶ 95,

119.


                                 [42]
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     Confidential witnesses are permissible, of course, but they

must be buttressed by other plausibly pleaded facts.           The First

Circuit cautions against reliance on confidential witnesses.

New Jersey Carpenters Pension & Annuity Funds v. Biogen IDEC

Inc., 537 F.3d 35, 51 (1st Cir. 2008) (“We have never said a

complaint would survive if it were based only on confidential

source allegations.   Indeed, we have said there must be a hard

look at such allegations to evaluate their worth.”).           The First

Circuit’s standard for the use of confidential sources is as

follows:

     [W]here plaintiffs rely on confidential personal
     sources but also on other facts, they need not name
     their sources as long as the latter facts provide an
     adequate basis for believing that the defendants'
     statements were false. Moreover, even if personal
     sources must be identified, there is no requirement
     that they be named, provided they are described in the
     complaint with sufficient particularity to support the
     probability that a person in the position occupied by
     the source would possess the information alleged. In
     both of these situations, the plaintiffs will have
     pleaded enough facts to support their belief, even
     though some arguably relevant facts have been left
     out.

Id. at 51 (emphasis added) (quoting In re Cabletron Sys., Inc.,

311 F.3d 11, 29 (1st Cir. 2002)).       The Court must weigh a

variety of factors in making its determination: “When

allegations depend in part on confidential sources, a court

‘evaluat[es], inter alia, [ ] the level of detail provided by

the confidential sources, the corroborative nature of the other


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facts alleged (including from other sources), the coherence and

plausibility of the allegations, the number of sources, the

reliability of the sources, and similar indicia.’”           City of

Miami Fire Fighters’ & Police Officers’ Ret. Tr. v. Cerence

Inc., No. 22-CV-10321-ADB, 2024 WL 1258149, at *13 (D. Mass.

Mar. 25, 2024) (Burroughs, J.) (emphasis added) (quoting N.J.

Carpenters Pensions & Annuity Funds, 537 F.3d at 51).            These

factors are not exclusive.    While confidential witnesses are not

required to “recall all possible details from their former

positions,” in order “[f]or the Court to consider and credit

[CW] allegations, [the] allegations cannot merely be ‘conclusory

allegations of fraud, but specific descriptions of the precise

means through which it occurred, provided by persons said to

have personal knowledge of them.’”        Collier v. ModusLink Glob.

Sols., Inc., 9 F. Supp. 3d 61, 71 (D. Mass. 2014) (Casper, J.)

(quoting In re Cabletron Sys., Inc., 311 F.3d at 30).

     As for Premca’s Amazon-non-cooperation-theory, Premca’s two

confidential witnesses do not provide sufficient, plausibly

pleaded facts in a level of detail and with a level of coherence

to support an inference that Amazon was not working

cooperatively with regulators, or that iRobot was reckless with

respect to such knowledge or had knowledge of purported non-

cooperation when any of the referenced cooperation statements

were made.

                                 [44]
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     As the First Circuit requires, this Court must look closely

at the statements, and how the FAC’s allegations are presented.

Even crediting, without ruling, that the Confidential Witnesses

were sufficiently identified or positioned within iRobot, the

two Confidential Witnesses –- CW2 and CW3 –- provide a handful

of sentences, untethered from the time, duration, and scope of

the purported lack of cooperation.        See FAC ¶¶ 95, 119.      Indeed,

if these confidential witnesses were as well-positioned as

Premca claims, they would presumably know actual facts which

would paint a complete picture without resort to broad

characterization by Premca’s counsel.

     Here, CW2’s and CW3’s statements are sparse in this regard,

backfilled by Premca’s surmise and conjecture.          It is not clear,

moreover, where these two CWs’ factual allegations end and

Premca’s characterization begins.       Take CW2, at FAC ¶ 95:

     In May 2023, according to CW2, at a Senior Leadership
     Team Meeting with Angle and Zeiler, iRobot’s Chief
     Legal Officer, Glen Weinstein (“Weinstein”), announced
     to iRobot employees that European Commission
     regulators asked Amazon for information on how its
     search engine worked, due to antitrust concerns over
     Amazon boosting its own products at the expense of
     competitors, and Amazon steadfastly refused to
     cooperate with regulators’ requests. Thus, in the
     Spring of 2023, iRobot had actual knowledge that,
     contrary to the Company’s public statements to
     investors, Amazon was not cooperating with regulators
     and instead ignoring their requests for information to
     review the Merger.




                                 [45]
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FAC ¶ 95; see also id. ¶ 167.    This is the entirety of CW2’s

information related to Amazon’s purported non-cooperation.            The

first sentence is at least somewhat factual -– iRobot’s CLO

announced at a May 2023 meeting that Amazon had refused to

provide certain information to the EC.      Save for the CLO’s

statement, though, this allegation adds little because it is

entirely silent as to context.    That is, there are no plausibly

pleaded facts surrounding Amazon’s refusal to cooperate with an

unspecified request by the EC at an unknown time, and for an

unknown duration.   The second sentence, moreover, is not a

reasonable inference from the first, and appears to be Premca’s

speculation.   That is, a vague, one-time instance of non-

cooperation does not logically lead to a reasonable inference

that Amazon was not cooperating with regulators at all times or

at any particular time relevant to statements made by iRobot.

Further, CW2’s information does not tie to any particular false

or misleading statement or support an inference of knowledge of

falsity when made -– even if Angle and Zeigler were present at a

meeting sometime in May 2023.

     Turning to CW3 at FAC ¶ 119, the same problem is evident:

     [A]ccording to CW 3, Weinstein admitted during a
     meeting with Angle, Zeiler, and other iRobot
     executives [in the late Summer of 2023] that Amazon
     was refusing to cooperate with the EU Commission.
     Specifically, Weinstein announced that the European
     Commission had requested information about how
     Amazon’s search engine worked, in order to determine

                                 [46]
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     whether Amazon was favoring its internal products to
     the detriment of competition, but Amazon refused to
     cooperate or share that information.

FAC ¶ 119; see also id. ¶ 168.    Here, the pleading deficiency is

structurally the reverse of CW2’s statements; that is, the first

sentence relies on the second sentence to lead to the broad,

unsupported conclusion contained in the first.         Again, a CW in

this position would likely have at least some other facts.

     This not a mere pleading oversight: tellingly, Premca is

able to draft complete, straight-forward, declarative statements

about allegations made by confidential witnesses without spin,

conjecture, and speculation.    For example, as to CW2, relating

to earnings calls, CW2 recounts that “iRobot stopped hosting

earnings calls [at Zeiler’s direction] because it was in such a

bad financial situation that it did not want to discuss its

forecasts.”   FAC ¶ 70.

     In stark contrast to CW2 and CW3’s statements concerning

the Chief Legal Officer’s announcement, CW1’s statements

similarly provide plausibly pleaded allegations, though on a

different topic:

     According to CW1, iRobot missed internal sales
     forecasts for 18 months starting around the time the
     Merger was announced. CW1 stated that iRobot had
     extremely aggressive sales projections but lacked a
     concrete plan to achieve those sales. According to
     CW1, Zeiler instituted this aggressive approach. CW1
     further stated that the Roomba was no longer
     competitive and remained a high-end product that


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     consumers did not want to pay for compared to lower-
     priced models.

FAC ¶ 56.   The difference between CW2 and CW3’s allegations on

the one hand, and CW1’s allegations on the other, further

confirms that, at least on this record, Premca’s allegations

lack sufficient particularity to permit a reasonable inference

that Amazon was being uncooperative with regulators, and

certainly do not support any allegations of falsity of

statements relating to cooperation when made.         See In re Boston

Sci. Corp. Sec. Litig., 646 F. Supp. 3d 249, 279 (D. Mass. 2022)

(Woodlock, J.) (rejecting confidential witness statements that

lacked sufficient particularity); LSI Design & Integration Corp.

v. Tesaro, Inc., No. 18-CV-12352-LTS, 2019 WL 5967994, at *4 (D.

Mass. Nov. 13, 2019) (Sorokin, J.); cf. Collier, 9 F. Supp. 3d

at 67-68, 70-73 (analyzing sufficiently pleaded confidential

witness statements).   Indeed, Premca’s claim that iRobot is

engaging in “tunnel vision,” Premca Opp’n 11 (quoting Hill v.

State St. Corp., No. 09cv12146-NG, 2011 WL 3420439, at *13 (D.

Mass. Aug. 3, 2011)), and that it need not produce “even more

details of Amazon’s obstruction,” because “the information [CW 2

and CW3] provide was exactly as discussed internally in

corporate meetings”, id. (citing FAC ¶¶ 95, 119), is mere

deflection.




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       Premca’s reliance on Collier is misplaced.             Premca Opp’n

11.    In that case, Judge Casper expressed doubt that CWs need

recall “all possible details from their former positions.”

Collier, 9 F. Supp. 3d at 73.       This Court agrees; however, there

must be sufficient, particularized detail to support the

inferences claimed.      Collier is distinguishable.          There, the CWs

had fulsome fact-based allegations: one recalled specific

conversations with the defendants, and another recalled her

termination after raising accounting inconsistencies.               Id. at

72.    Premca’s reliance on Washtenaw Cnty. Emps.’ Ret. Sys. v.

Talbots, Inc., No. 11-10186-NMG, 2013 WL 5348569, at *10 (D.

Mass. Sept. 23, 2013) (Gorton, J.), is also unpersuasive.                In

that case, the level of detail provided by the confidential

witnesses included specific questions placed to, and answers by,

individual defendants, going to the heart of the fraud.               Id.

       With respect to non-cooperation with the EC, Premca also

relies on a February 15, 2023 Financial Times Article, iRobot

Exs., Ex. 8, Feb. 15, 2023 Fin. Times Article, ECF No. 52-8,

that describes the EC’s gearing up for a review of the proposed

merger, and sending questions to Amazon, FAC ¶¶ 82-83.               iRobot

argues that the article’s sources are anonymous, that it lacks

particularity, and that the article does not corroborate the

specific statement at issue because the article discusses

privacy concerns as opposed to Amazon’s search engine.               iRobot

                                    [49]
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Mem. 13.   iRobot cites In re Optionable Sec. Litig., 577 F.

Supp. 2d 681, 690 (S.D.N.Y. 2008) (finding newspaper article

relying on anonymous source insufficiently reliable and

specific); Plumbers & Steamfitters Loc. 773 Pension Fund v.

Canadian Imperial Bank of Com., 694 F. Supp. 2d 287, 300-01

(S.D.N.Y. 2010) (rejecting speculative media reports as

insufficiently particularized) as persuasive authority.           Id.

These cases, though not entirely on point, provide some insight.

Premca distinguishes these cases based upon the specifics of the

news reports.   Premca Opp’n 13-14.

     There is, of course, no dispute that the Court may consider

news articles, but the Court is not required blindly to accept

them as fact.   As the Defendants point out in reply, not all

news articles are the same, and cases where news articles are

found acceptable typically feature articles that identify

sources, quote the defendants, or reference other evidence.

Reply 6-7 (citing Matrixx Initiatives, Inc., 563 U.S. at 34

(2011); Aldridge v. A.T. Cross Corp., 284 F.3d 72, 79-80 (1st

Cir. 2002); City of Warren Police & Fire Ret. Sys. v. World

Wrestling Ent. Inc., 477 F. Supp. 3d 123, 133 (S.D.N.Y. 2020);

In re Vivendi Universal, S.A., 381 F. Supp. 2d 158, 180

(S.D.N.Y. 2003); Godinez v. Alere Inc., 272 F. Supp. 3d 201, 208

(D. Mass. 2017) (Saris,J.)).



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     Even were the news articles otherwise sufficient, the

articles speak to vague concerns by regulators.            Nothing in

these articles signals that regulators had taken a final

position, nor expresses that that position had been communicated

to Amazon or iRobot.    Further, even were iRobot aware of these

news reports, iRobot is “not obligated to respond to every

potentially disparaging news story or to rebut the musings of

the financial press.”   Plumbers & Steamfitters, 694 F. Supp. 2d

at 300 (citing In re Omnicom Group, Inc. Sec. Litig., 597 F.3d

501, 514 (2d Cir.2010) (“Firms are not required by the

securities laws to speculate about distant, ambiguous, and

perhaps idiosyncratic reactions by the press or even by

directors.”); Hershfang v. Citicorp, 767 F.Supp. 1251, 1259

(S.D.N.Y.1991) (“Plaintiffs have stitched together a patchwork

of newspaper clippings and proclaimed the result a tale of

securities fraud. . . . Read as a whole, the complaint creates

the strong impression that when [the defendant] announced a cut

in dividends, plaintiff’s counsel simply stepped to the nearest

computer console, conducted a global Nexis search, [and] pressed

the ‘Print’ button.”)).

     Articles discussing regulators’ concerns or that they were

gearing up for an investigation of a merger really say nothing

more than what was obvious to all investors at that time.

Premca has in effect “stitched together a patchwork of newspaper

                                 [51]
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clippings and proclaimed the result a tale of securities fraud.”

Hershfang, 767 F.Supp. at 1259.      Taken together, Premca’s press

reports by themselves lack foundational reliability and do not

indicate one way or the other whether the merger was expected to

succeed or whether there was an unusual level of scrutiny.             Most

importantly, they are untethered to any particular statement by

the Defendants.

     Finally, iRobot argues that Angle’s statement in a January

10, 2024, Politico article that the “company” continued to work

with regulators does not refer to Amazon, but rather, to iRobot.

Mem. 14.   This is persuasive; indeed, Angle as CEO of iRobot

would not be expected to be commenting on Amazon’s conduct, and

the word “company” is not attributed to Angle as a quote, but

rather to the author of the Politico article.          Josh Sisco &

Aoife White, Amazon skips concessions to EU on iRobot deal,

Politico (Jan. 10, 2024),

https://www.politico.eu/article/amazon-dodges-concessions-to-

appease-eu-on-irobot-deal/.     No one has provided a copy of

Angle’s actual statement, and its placement in the article

supports only an inference that Angle was speaking with respect

to iRobot, not Amazon.      Statement No. 22 is therefore neither

false nor misleading.




                                  [52]
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                     FTC Cooperation Statements

     Three of the statements pertain to Amazon’s purported lack

of cooperation with the FTC, Statement Nos. 2 (FAC ¶ 88), 6 (FAC

¶ 99), 15 (FAC ¶ 130), relying solely on a Politico article,

Josh Sisco, Washington prepares for war with Amazon, Politico

(Mar. 20, 2023), https://www.politico.com/news/2023/03/20/ftc-

amazon-irobot-antitrust-00087711.       iRobot argues that the

Politico article, although it does address the iRobot merger, is

more broadly focused on Amazon’s cooperation with multiple FTC

investigations.   iRobot Mem. 9-10; see Sisco, Washington

prepares, supra (“Amazon has been largely unresponsive to the

FTC’s investigations so far, refusing to turn over information

requested by the FTC, some of the people said.”) (emphasis

added)).   As iRobot argues, the Politico article is largely

nonspecific, and does not provide a reliable basis to assert

that Amazon was being uncooperative with the FTC specifically

relating to the Merger.     iRobot Mem. 9-10; Reply 6.       Indeed, the

same sufficiency problems that plagued CW2 and CW3’s statements

persist in this article as well.

            2. Merger Status and Regulatory Reviews

     These statements refer to iRobot’s 8-K, 10-Q, and 10-K

forms filed between February 13, 2023 and November 27, 2023,

which provided investors with updates as to the status of the

Merger and stated the risks related to it in general terms.            See

                                 [53]
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Statement Nos. 2 (FAC ¶ 88), 5 (FAC ¶ 97), 6 (FAC ¶ 99), 9 (FAC

¶ 113), 10 (FAC ¶ 120), 12 (FAC ¶ 124), 15 (FAC ¶ 130), 17 (FAC

¶ 138), 18 (FAC ¶ 140), and 20 (FAC ¶ 145).        iRobot cabins

Premca’s claim that the statements were misleading as follows:

     (i) the “European Commission and FTC had taken
     concrete steps to increase their scrutiny of the
     Merger, including sending Amazon detailed questions
     and requests for information over the Merger which
     were not resolved, increasing the regulatory threat to
     the Merger”; (ii) “Amazon and iRobot ceased holding
     integration meetings between the companies, indicating
     an increased pessimism over the Merger receiving
     regulatory approval”; and (iii) “iRobot began, for the
     first time, to formulate alternative plans for the
     Company in September 2023 in preparation for the
     Merger to be rejected by regulators.” (See, e.g., FAC
     ¶¶ 100, 114, 132, 139.)

iRobot Mem. 15.   Premca’s arguments are bit more broad,

essentially claiming that iRobot “consistently painted

regulatory approval as a when-not-if-proposition, despite

knowing undisclosed material facts” otherwise.         Premca Opp’n. 14

Premca claims that iRobot knew of regulatory objections, non-

cooperation of the Merger participants, iRobot’s expectation

that the Merger would fail, cessation of integration meetings,

and the iRobot’s contingency planning .       Id. at 14-15.

     First, the allegations that iRobot ignored increasing

regulatory risk is primarily supported by vague news articles

that are largely unremarkable.    At the same time, merger status

updates were timely and fulsome.     See e.g., FAC ¶¶ 88, 97, 99,

113, 120, 124, 130, 138, 140, and 145.      Premca’s noncooperation

                                 [54]
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argument fails for the same reasons identified above.           See

Section III.B.1, supra.     Again, identifying (at most) two

instances of purported non-cooperation over a year-long period

is simply insufficient to plead that any of the updates and

regulatory statements were false when made.

     As for the cessation of integration meetings and

contingency planning, once again, the Court needs to scrutinize

the sources of information as to these allegations.          Here, the

statements from CW2, CW3, and CW4 allege that iRobot beginning

in August 2023 began suspending integration meetings with

Amazon, and that by October 2023, it had halted “all”

integration meetings.   FAC ¶¶ 9, 115-19, 137, 165.         As iRobot

points out, Premca makes no argument about express statements

regarding sufficiency of integration; rather, the cessation of

the meetings allegedly signaled “increased pessimism over the

Merger receiving regulatory approval,” which the form statements

then allegedly misrepresented.    iRobot Mem. 16 (citing FAC ¶¶

120-21, 123-27, 129-30, 138-40, 145).

     The allegations that are based on confidential witnesses

fail at a pleading level.    Turning first to CW2, at FAC ¶ 134,

the allegations are as follows:

     According to CW2, in September 2023, during monthly
     Senior Leadership Team Meetings, iRobot executives
     internally formulated plans for the business without
     the Merger. This reflected a growing understanding


                                 [55]
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     within the Company that the Merger was unlikely to be
     approved by regulators.

FAC ¶ 134 (emphasis added).    Similar to Premca’s confidential

witness allegations relating to cooperation, see Section

III.B.1, supra, the first sentence provides no context as to why

the plans were formulated, the scope of the plans, or any other

contextual information that a confidential witness attending

these meetings would likely possess.      The second sentence is

also unclear as to whether it is to be attributed to CW2, or is

merely Premca’s argument.    For example, the second sentence’s

use of the word “reflected” is speculative and muddies the

water.   On its face, it is pleaded plausibly that CW2 claims

that contingency plans for the business to operate without the

merger were formulated, but absent any factual context, the

allegation is insufficient to establish the further inference

that iRobot expected the Merger to fail.

     Turning to CW4, at FAC ¶ 137 the allegations are as

follows:

     According to CW4, who attended weekly and monthly
     integration meetings, by October 2023, all integration
     meetings between iRobot and Amazon had stopped,
     indicating that the Company no longer believed that
     the Merger would receive regulatory approval.

FAC ¶ 137 (emphasis added).    Again, the fact asserted by CW4 is

the cessation of meetings; then the allegation pivots to the




                                 [56]
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word “indicating,” which introduces a speculative statement.7

From the drafting of the FAC, CW4 has failed plausibly to plead

personal knowledge of iRobot’s belief concerning the approval.

     As for the updates, Premca argues that even if technically

true (which it does not concede), the omission of known adverse

information renders the updates misleading.        Premca Opp’n 15.

Premca spotlights Glazer Cap. Mgmt., L.P. v. Forescout Techs.,

Inc., 63 F. 4th 747 (9th Cir. 2023), in which the Ninth Circuit

rejected language describing hypothetical risks as to

information the company already knew.      Id. (citing Glazer, 63 F.

4th at 778-79).   Glazer, however, is inapposite.          There, the

defendant company had actual knowledge that the counterpart

company to the merger was considering bailing out of the merger

process, but that fact was omitted from communications conveying

expectations that the merger would close.       Glazer, 63 F. 4th at

778-79.   The allegations here are not nearly so robust.          Cf. In

re Coinbase Glob., Inc. Sec. Litig., No. 2:22-CV-04915

(BRM)(LDW), 2024 WL 4053009, at *13 (D.N.J. Sept. 5, 2024)

(observing that, while defendant company was not required to

speculate about regulator’s activity, its own internal processes

directly contradicted its representations about the possibility




     7 The Court presumes without ruling that the FAC
sufficiently alleges that CW4 would be in a position to know
about “all” integration meetings. See FAC ¶ 136.
                                 [57]
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of regulatory action); In re Sprint Corp. Sec. Litig., 232 F.

Supp. 2d 1193, 1219 (D. Kan. 2002) (observing that defendants

were informed by regulators that merger investigation would be

suspended, suggesting serious problems).

     In sum, iRobot has the better of the argument here.            Premca

cobbles together loose public information with unfocused

confidential witness statements intertwined with argument, to

present a scenario of fraud.    Indeed, the confidential witnesses

do not allege that the Merger was somehow in trouble, or the

reasons for the cessation of integration meetings or the

contingency planning.   “Like Conan Doyle’s dog that did not

bark, this silence says much.”    Quinones, 106 F.4th at 183.

           3. Risk Factor Disclosures

     The First Circuit analyzes misleading risk disclosures as

follows:

     [W]e can understand the contours of what makes a risk
     so great that it is akin to the Grand Canyon (and
     therefore a disclosure is misleading if it frames the
     risk as merely hypothetical) and what makes a
     situation merely risky (i.e., simply a ditch). A
     securities fraud defendant is at the edge of the Grand
     Canyon where the alleged risk had a “near certainty”
     of causing “financial disaster” to the company. Of
     course, the defendant company must have understood the
     near certainty of the risk at the time it made the
     statements at issue.

Karth v. Keryx Biopharmaceuticals, Inc., 6 F.4th 123, 137–38

(1st Cir. 2021) (citations omitted).      A Grand Canyon event, for

example, “is often evidenced by a company’s frenzied,

                                 [58]
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underhanded efforts ‘to keep the house of cards standing.’”             Id.

at 138 (quoting In re Cabletron Sys., Inc., 311 F.3d at 24).

Similarly, “[i]f a company is ‘desperate[ly]’ working to

‘protect itself’ from rapidly approaching harm, then it is at

the edge of the Grand Canyon and must warn investors of an

imminent cliff.”   Id. (quoting Tutor Perini Corp. v. Banc of Am.

Sec. LLC, 842 F.3d 71, 88-91 (1st Cir. 2016)).         These factors

are not plausibly pleaded in the FAC.

     The risk-factor disclosures, while characterized as

“boilerplate,” “hypothetical,” and “carbon-copy,” are here

nonetheless sufficient in light of the plausibly pleaded facts

in the FAC.   See Statement Nos. 1 (FAC ¶ 86), 3 (FAC ¶ 89), 5

(FAC ¶ 97), 11 (FAC ¶ 122), 13 (FAC ¶ 126), 15 (FAC ¶ 130), 18

(FAC ¶ 140), and 21 (FAC ¶ 146).     Indeed, as iRobot argues, the

disclosures were accurate and “tailored and repeatedly updated

throughout the Class Period as iRobot navigated the

uncertainties around the regulators’ ongoing review of the

Merger.”   iRobot Mem. 18; see also Reply 10-12.           The FAC’s

allegations do not demonstrate that risk had begun to

materialize or that there was near certainty of risk at the time

of the disclosures.   Id.   Premca asserts that the disclosures

did not accurately update investors because: (1) communications

from regulators raised concerns that made approval from

regulators unlikely; (2) Amazon and iRobot were not cooperating

                                 [59]
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with regulators; and (3) the merger prospects were so poor that

iRobot was preparing for the merger’s abandonment.             Premca Opp’n

18.

       While the Court agrees with Premca that iRobot was not

entitled to “misrepresent Merger risks,” what emerges from the

few well-pleaded factual allegations in the FAC is run-of-the-

mill merger processes updated through disclosure and appropriate

risk-disclosure language, not a “whitewash.”           Premca Opp’n 18

(quoting Tutor Perini Corp., 842 F.3d at 91).

       There are no communications from the regulators that

approval of the Merger was unlikely.         For example, to the extent

that regulators sought a Second Request (FTC), began a Phase 2

investigation (EC), or filed a Notice of Objections (EC), there

is no dispute that information was timely and publicly

disclosed.     Premca describes such actions as somehow increasing

the likelihood of the failure of the Merger.           There is, again, a

lack of factual allegation as to what the regulators were doing

or not doing, and although not necessary, it is telling that

not a single confidential witness from Amazon provides

information as to what happened.        As for iRobot’s confidential

witnesses, CW2, CW3, and CW 4 fail to make sufficient, plausibly

pleaded allegations to support fraud.8         To use the First



       As mentioned above, CW1 has little to add other than that
       8

iRobot was having financial trouble. See FAC ¶¶ 55-56.
                                    [60]
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Circuit’s analogy, the FAC might paint a picture of a ditch, but

it is certainly no “Grand Canyon.”        The FAC bootstraps its own

characterizations of the few facts into a narrative that is, on

this record, not pleaded plausibly, i.e., that requires

unreasonable inferences to be made.

           4. Sarbanes-Oxley Certifications

     The claims relating to the Sarbanes-Oxley certifications

made by Angle and Zeiler (Statement Nos. 4 (FAC ¶ 91), 7 (FAC ¶

102), 14 (FAC ¶ 128), and 19 (FAC ¶ 142)) fail for the same

reasons set forth above.    Namely, there are insufficient

allegations that the statements made by Angle and Zeiler were

knowingly false or misleading when signed.

     C.   Premca Fails to Establish a Strong Inference of
          Scienter

     Even if any of the above statements were false or

misleading, Premca has failed to establish a strong inference of

scienter as required under the PSLRA.       See Salim v. Mobile

Telesystems PJSC, No. 19-CV-1589(AMD)(RLM), 2021 WL 796088, at

*12 (E.D.N.Y. Mar. 1, 2021) (considering scienter elements even

in the absence of misrepresentations), aff’d, No. 21-839-CV,

2022 WL 966903 (2d Cir. Mar. 31, 2022).        “To support a finding

of scienter under the PSLRA, a complaint must state with

particularity facts giving rise to a strong inference that the

defendant . . . either . . . consciously intended to defraud, or



                                 [61]
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that they acted with a high degree of recklessness.”           Quinones,

106 F.4th at 182 (citation and internal quotation marks

omitted).

     As this Court recently wrote about the applicable PSLRA

pleading standard:

          Congress has heightened the pleading standard for
     scienter allegations in private enforcement actions.
     S.E.C. v. Sharp, 2022 WL 4085676 (D. Mass. 2022)
     (citing Merrill Lynch, Pierce, Fenner & Smith, Inc. v.
     Dabit, 547 U.S. 71, 81 (2006)). The reasons
     underlying this important legislative intervention
     were described in Galileo:

            In particular, Congress sought to reform
            private securities litigation to discourage
            unmeritorious class actions, including
            actions brought because of a decline in
            stock prices. The aims of the PSLRA are
            three-fold: (1) to encourage the voluntary
            disclosure of information by corporate
            issuers; (2) to empower investors so that
            they -- not their lawyers -- exercise
            primary control over private securities
            litigation; and (3) to encourage plaintiffs’
            lawyers to pursue valid claims and
            Defendants to fight abusive claims. The
            PSLRA seeks to curtail the filing of abusive
            lawsuits at the pleading stage of litigation
            by establishing uniform and stringent
            pleading requirements.

     In re Galileo Corp. S’holders Litig., 127 F. Supp. 2d
     251, 260 (D. Mass. 2001) (Lindsay, J.).

          Specifically, the pleaded facts must give rise to
     a “strong” inference of scienter. Tellabs, Inc. v.
     Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).
     This means that the complaint must “with respect to
     each act or omission . . . state with particularity
     facts giving rise to a strong inference that the
     defendant acted with the required state of mind.” 15
     U.S.C. § 78u–4(b)(2)(A); see also In re Boston

                                 [62]
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     Scientific Corp. Secs. Litig., 686 F.3d [21,] 30 [(1st
     Cir. 2012)]. “It does not suffice that a reasonable
     factfinder plausibly could infer from the complaint’s
     allegations the requisite state of mind.” Tellabs,
     551 U.S. at 314. Instead, the inference of scienter
     must be “cogent and at least as compelling as any
     other opposing inference of nonfraudulent intent.”
     Id. at 328.

Quinones, 665 F. Supp. 3d at 173-174 (parallel citations

omitted).

     In affirming this Court, the First Circuit recently

restated the high scienter pleading requirements.           “The PSLRA

dictates that to survive a motion to dismiss, ‘[a]n inference of

scienter’ must be ‘cogent and at least as compelling as any

opposing inference one could draw from the facts alleged.’”

Quinones, 106 F. 4th at 184 (alteration in original) (quoting In

re Genzyme Corp. Sec. Litig., 754 F.3d 31, 40 (1st Cir. 2014)).

In that case, in the context of a motion to dismiss, the First

Circuit succinctly restated the standard under Fed. R. Civ. P.

9(b) and the PSLRA as follows:

          To support a finding of scienter under the PSLRA,
     a complaint must “state with particularity facts
     giving rise to a strong inference that the defendant .
     . . either . . . consciously intended to defraud, or
     that they acted with a high degree of recklessness.” A
     “strong” inference is “more than merely ‘reasonable’
     or ‘permissible’ -- it must be cogent and compelling,
     thus strong in light of other explanations.”

Quinones, 106 F.4th at 182 (citations omitted).            “Recklessness

in this context means ‘a highly unreasonable omission, involving

not merely simple, or even inexcusable[ ] negligence, but an

                                 [63]
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extreme departure from the standards of ordinary care, and which

presents a danger of misleading buyers or sellers that is either

known to the defendant or is so obvious the actor must have been

aware of it.’”    In re Biogen Inc. Sec. Litig., 193 F. Supp. 3d

5, 44 (D. Mass. 2016) (Saylor, J.), aff’d, 857 F.3d 34 (1st Cir.

2017) (quoting Mississippi Pub. Emps.’ Ret. Sys. v. Boston Sci.

Corp. II, 649 F.3d 5, 20 (1st Cir.2011)).       A high burden indeed.

        Scienter is a holistic concept and “need not be

irrefutable, i.e., of the ‘smoking-gun’ genre, or even the ‘most

plausible of competing inferences.’”      Tellabs, 551 U.S. at 323-

324 (quoting Fidel v. Farley, 392 F.3d 220, 227 (6th Cir.

2004)).    Nevertheless, as here, where the FAC is largely “devoid

of any direct-evidence allegations, the indirect-evidence

allegations in the [FAC] will need to do more work to carry the

burden of raising a ‘strong inference of scienter’ on their

own.”    Shash v. Biogen, Inc., 84 F. 4th 1, 16 (1st Cir. 2023)

(quoting Brennan v. Zafgen, Inc., 853 F.3d 606, 615 n.8 (1st

Cir. 2017)).    “Certainly while ‘[e]ach individual fact about

scienter may provide only a brushstroke,’ . . . [the Court’s]

obligation [is] to consider ‘the resulting portrait.’” Quinones,

106 F. 4th at 184 (quoting Local No. 8 IBEW Ret. Plan & Tr. v.

Vertex Pharms., Inc., 838 F.3d 76, 81 (1st Cir. 2016)).           As the

First Circuit points out, “[a]t the same time plaintiffs cannot

amalgamate a series of sketchy brushstrokes and call it a van

                                 [64]
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Gogh.”   Id.   Indeed, “competing inferences should be weighed

against plaintiffs’ preferred interpretation of the facts.”             ACA

Fin. Guar. Corp., 512 F.3d at 59.       “While it may be unusual for

courts to weigh competing inferences from facts, Congress

mandated this review in the PSLRA.”       Id.   “When there are

equally strong inferences for and against scienter, ‘the draw is

awarded to the plaintiff.’”    Pizzuto v. Homology Medicines.,

Inc., No. 1:23-CV-10858-AK, 2024 WL 1436025, at *15 (Kelley, J.)

(quoting City of Dearborn Heights Act 345 Police & Fire Ret.

Sys. v. Waters Corp., 632 F.3d 751, 757 (1st Cir. 2011)).            In

the end, “[t]here is no one-size-fits-all way of analyzing

securities fraud cases; rather, [the Court must] take a ‘“fact-

specific approach” that proceeds case by case.’”           Karth, 6 F.

4th at 134 (quoting In re Cabletron Sys., Inc., 311 F.3d at 38).

     Premca repackages many of the FAC’s misrepresentation

allegations into additional allegations of scienter.           FAC ¶¶

165-188.   Ultimately, Premca’s news articles and four

confidential witness statements, even if taken as true, do not

meet the rigorous standards of Rule 9(b) and the scienter

requirement of the PSLRA.

     First, as for the confidential witnesses, CW1 is relatively

the most reliable, but least important, confidential witness,

establishing nothing more than that iRobot was having difficulty

making its product appealing.    As for the remaining confidential

                                 [65]
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witnesses, the Court has already dealt with the anemic

allegations made by CW2, CW3 and CW4, and the pleading problems

associated with them.    See Section III.B.1, supra.

     Second, the press articles do not paint a picture of fraud.

For the most part, the press articles fret over well-known

privacy issues relating to Amazon that were apparently subject

to scrutiny by regulators in the United States and Europe.             The

content of the articles is also relatively murky; while there is

much conjecture about scrutiny of the Merger by regulators, it

is all based upon anonymous sourcing and speculation as to

merger investigations.      “Although a plaintiff may use such

sources in pleadings, ‘the news articles cited still must

indicate particularized facts about a defendant’s conduct in

order to support [the] claims.’”      Plumbers & Steamfitters, 694

F. Supp. 2d at 300 (alteration in original) (quoting Miller v.

Lazard, Ltd., 473 F.Supp.2d 571, 586 (S.D.N.Y. 2007));            Brennan

v. Zafgen, Inc., 199 F. Supp. 3d 444, 451–52 (D. Mass. 2016)

(Saylor, J.) (“[T]he complaint’s circumstantial allegations

concerning scienter -- a patchwork of scientific literature and

unsuspicious insider sales -- are insufficient to support a

strong inference of defendants’ ‘conscious intent to defraud or

high degree of recklessness.’” (quoting ACA Fin. Guar. Corp.,

512 F.3d at 58)), aff’d, 853 F.3d 606 (1st Cir. 2017).            In the

absence of plausibly pleaded facts concerning internal

                                  [66]
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knowledge, Premca is left asserting that iRobot, itself, should

have speculated about the merger’s success based upon

anonymously sourced press articles.          “The securities laws do not

require -- and good business practice does not suggest -- that

[companies] respond to every warble of the 24–hour news cycle.”

Id. at 301.

       Third, Premca’s reliance on executives’ high level of

access and the Merger Agreement’s cooperation provision is, as

iRobot argues, a dressed-up “must have known” claim.               iRobot

Mem. 24.    Premca argues that the Merger Agreement, along with

“multiple facts,” demonstrate actual knowledge.               Premca Opp’n

25.    Stripped of any supporting plausibly pleaded facts from the

confidential witnesses relating to the merger, the claims of

knowledge through access to information by iRobot’s executives,

even including the Merger Agreement, are “tantamount to the

‘scienter by status’ theory, which has been ‘uniformly rejected’

and which cannot sustain a showing of scienter here.”               State

Teacher Ret. Sys. of Ohio v. Charles River Lab’ys Int’l, Inc.,

No. 23-CV-11132-DJC, 2024 WL 3258293, at *16 (D. Mass. July 1,

2024) (Casper, J.) (quoting City of Fort Lauderdale Police &

Firefighters’ Ret. Sys. v. Pegasystems, Inc., 683 F. Supp. 3d

120, 132 (D. Mass. 2023)) (citing Lirette v. Shiva Corp., 27 F.

Supp. 2d 268, 283 (D. Mass. 1998)).          Indeed, the allegations

relying on the Merger Agreement reflect the speculative nature

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of this type of allegation.    See FAC ¶ 149 (“Pursuant to the

Merger Agreement’s cooperation provision, iRobot would have been

informed of Amazon’s plans for the December 18, 2023 hearing,

coordinated strategy, and been debriefed on the hearing itself.”

(emphasis added)); FAC ¶ 158 (“Either at its own meeting with

the FTC or, pursuant to the Merger Agreement’s cooperation

provision, through communication with Amazon, Defendants were

informed that the FTC would oppose the Merger.” (emphasis

added)); FAC ¶ 165 (“Defendants iRobot, Angle and Zeiler had

access to information about, and according to the Merger

Agreement, received actual knowledge of, Amazon’s refusal to

cooperate with regulators.”)9; FAC ¶ 166 (“[P]ursuant to the

Merger Agreement’s cooperation provision, Amazon would have told

iRobot’s executives –- which included Angle and Zeiler -– about

every interaction with both FTC and European Commission

regulators.” (emphasis added)).

     Fourth, as for “core operations,” the First Circuit has not

determined the contours of this doctrine.       See In re Biogen Inc.

Sec. Litig., 857 F.3d at 44.    Even though such operations are,

and are here, considered in the calculus, courts “have been




     9 This allegation apparently relates to CW2 and CW3’s
allegations that iRobot’s Chief Legal Officer referenced an
instance of Amazon’s failure to provide information to the
European Commission, which are analyzed above as insufficiently
pleaded. See Section III.B.1.a, supra.
                                 [68]
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hesitant to apply significant weight to ‘core operations’

allegations without other significant evidence of a defendant’s

intent or recklessness, or a ‘plus factor.’”        Leung v. Bluebird

Bio, Inc., 599 F. Supp. 3d 49, 66 (D. Mass. 2022) (Casper, J.)

(quoting In re Biogen Inc. Sec. Litig., 193 F. Supp. 3d at 51).

While the Merger was a critical transaction to iRobot, there is

an absence of the plus factor here typically necessary to

support an inference of scienter.       In re iRobot Corp. Sec.

Litig., 527 F. Supp. 3d 124, 141 (D. Mass. 2021) (Casper, J.)

(discussing cases involving “plus factors”).        Rather, the claims

that iRobot must have been aware of Amazon’s uncooperative

approach are unsupported by plausibly pleaded facts.

Accordingly, this factor has little impact on scienter.

     Fifth, Angle’s resignation and the timing of that

resignation are similarly without effect.       As iRobot argues,

Angle stayed on as a director after resigning as Chief Executive

Officer until May 2024, and as a senior advisor to iRobot while

it found a new CEO.   iRobot Mem. 27 (citing iRobot Exs., Ex. 23,

Jan. 29, 2024 Form 8-K 26, ECF No. 52-23).        Premca’s focus on

Angle’s resignation also ignores any mention of Zeiler.

     Premca cites to cases where the timing of the resignation

was tied directly to the purported fraud.       See, e.g., Collier, 9

F. Supp. 3d at 65-66, 76 (discussing resignations after audit

committee findings and restatement of company financials).            This

                                 [69]
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is not a situation where an officer or director was pushed out

of the company after an internal investigation, findings of

fraud or misfeasance.   While Angle may have resigned as a result

of the Merger’s not going through, there is no linkage to any

fraud by Angle.   Angle’s resignation, although it occurred at

the same time as the merger termination, does not weigh

significantly in favor of scienter.       See Metzler Asset Mgmt.

GmbH v. Kingsley, 305 F. Supp. 3d 181, 219 (D. Mass. 2018)

(Saylor,J.) (“The complaint fails to plead with any

particularity that [the defendant’s] employment was terminated

because of [the subject of the alleged fraud].”), aff’d, 928

F.3d 151 (1st Cir. 2019).    Without more, there is nothing

suspicious about Angle’s resigning as CEO, while staying on as a

director until May 2024 and assisting iRobot with finding a

replacement.   See In re iRobot Corp. Sec. Litig., 527 F. Supp.

3d at 140-41 (“[T]here is nothing inherently suspicious about ‘a

COO resigning to become a CEO’ of another company.          Absent any

further particularized allegations, other than the timing of

aligning with alleged corrective disclosures, the complaint

fails to allege sufficient facts to show that [the executives’]

departures were tied to their knowledge or even participation in

the alleged fraud.” (citation omitted)); see also In re Hertz

Glob. Holdings Inc., 905 F.3d 106, 119 (3d Cir. 2018)

(“[P]leading scienter requires more than pleading a link between

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bad news and an executive’s resignation.       Changes in leadership

are only to be expected when leadership fails.         That is not, in

itself, a symbol of fraud.”); Ezzes v. Vintage Wine Ests., Inc.,

No. 2:22-CV-01915-GMN-DJA, 2024 WL 895018, at *14-15 (D. Nev.

Mar. 1, 2024) (finding that transition from CEO to Executive

Chairman of the Board of Directors by one officer and transition

from CFO to Executive Vice President, and then resignation, by

another do not support strong inference of scienter); In re

Intel Corp. Sec. Litig., No. 5:20-CV-05194-EJD, 2023 WL 2767779,

at *24 (N.D. Cal. Mar. 31, 2023) (“Such departures are hardly

uncharacteristic since ‘[m]ost major stock losses are often

accompanied by management departures.’” (alteration in original)

(quoting In re CornerStone Propane Partners, L.P. Sec. Litig.,

355 F. Supp. 2d 1069, 1093 (N.D. Cal. 2005))), aff’d, No. 23-

15695, 2024 WL 1693340 (9th Cir. Apr. 19, 2024).

     Sixth, Angle’s statements at FAC ¶¶ 177-80 are insufficient

to demonstrate a strong inference of scienter.         Here, the

temporal proximity of the June 16, 2023 and January 10, 2024

general statements of cooperation and optimism to the eventual

failure of the Merger is not supported by other plausibly

pleaded allegations sufficient to raise that inference.

     Seventh, the SOX certifications are insufficient insofar as

the few plausibly pleaded factual allegations fail to suggest



                                 [71]
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with any particularity that the statements were false or false

when made.

     Eighth, Premca’s generalized and indirect assertions of

financial motive are insufficient.        “When financial incentives

to exaggerate earnings go far beyond the usual arrangements of

compensation based on the company’s earnings, they may be

considered among other facts to show scienter.”             Aldridge, 284

F.3d at 83.   The Merger Agreement’s “Golden Parachute

Compensation” package itself, which simply incentivized

completion of the Merger, did not operate as a motivating factor

artificially to keep share prices high.        See FAC ¶¶ 174-76.

There was no special financial benefit to the Defendants for the

Merger to reach fruition other than a seemingly customary

compensation package, and no indication of why artificially

inflating stock prices would make the Merger more likely to

succeed with regulators.    On this record, and in the absence of

any on point authority, iRobot’s alleged financial motive adds

little to the scienter analysis.

     Finally, stepping back and assessing the few plausibly

pleaded allegations holistically, a non-culpable inference is

more compelling than Premca’s largely conclusory narrative of

fraud.   Weighing the competing theories here, the more

compelling inference drawn from the facts alleged is that iRobot

provided consistent updates of the Amazon/iRobot merger that

                                 [72]
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ultimately failed as a result of regulatory resistance.               Indeed,

“[o]ften in cases where the scienter pleading standard is

satisfied, the complaint ‘contains clear allegations of

admissions, internal records or witnessed discussions suggesting

that at the time they made the statements claimed to be

misleading, the defendant officers were aware that they were

withholding vital information or at least were warned by others

that this was so.’”      Brill, 2024 WL 4228832, at *11 (quoting In

re Boston Sci. Corp. Sec. Litigation, 686 F.3d 21, 31 (1st Cir.

2012)).      That is not present here.

IV.    SECTION 14(A) CLAIM

       Premca’s Count III attempts to bring a proxy claim under

Section 14(a) of the Securities Exchange Act.            “Section 14(a)

seeks to ‘prevent management or others from obtaining

authorization for corporate action by means of deceptive or

inadequate disclosure in proxy solicitation.’”10              Winters v.




       10   Section 14(a) of the Act provides, in pertinent part:

            It shall be unlawful for any person . . . in
            contravention of such rules and regulations as the
            Commission may prescribe as necessary or appropriate in
            the public interest or for the protection of investors,
            to solicit or to permit the use of his name to solicit
            any proxy or consent or authorization in respect of any
            security (other than an exempted security) registered
            pursuant to section 78l of this title.

       15 U.S.C. § 78n(a)(1).

                                    [73]
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Stemberg, 529 F. Supp. 2d 237, 252 (D. Mass. 2008) (quoting J.I.

Case Co. v. Borak, 377 U.S. 426, 431 (1964)).          In turn, “SEC

Rule 14a-9, promulgated pursuant to Section 14(a) of the

Exchange Act, prohibits solicitation by means of a proxy

statement containing ‘any statement which, at the time and in

the light of the circumstances under which it is made . . .

omits to state any material fact necessary in order to make the

statements therein not false or misleading.’”          Vardakas v.

American DG Energy Inc., No. 17-CV-10247-LTS, 2018 WL 1141360,

at *2 (D. Mass. Mar. 2, 2018) (Sorokin, J.) (citing 17 C.F.R. §

240.14a-9(a)).11

     iRobot argues that the FAC “fails to adequately allege a

material misrepresentation.”     iRobot Mem. 29 (citing In re

Analogic Corp. S’holder Litig., NO. 18-cv-11301-ADB, 2019 WL

4804800, at *8-10 (D. Mass. Sept. 30, 2019)); see In re Analogic


     11   Rule 14a-9(a) provides, in pertinent part:

          No solicitation subject to this regulation shall be made
          by means of any proxy statement, form of proxy, notice of
          meeting or other communication, written or oral,
          containing any statement which, at the time and in the
          light of the circumstances under which it is made, is
          false or misleading with respect to any material fact, or
          which omits to state any material fact necessary in order
          to make the statements therein not false or misleading or
          necessary to correct any statement in any earlier
          communication with respect to the solicitation of a proxy
          for the same meeting or subject matter which has become
          false or misleading.

     17 C.F.R. § 240.14a–9(a).
                                  [74]
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Corp, 2019 WL 4804800, at *7 (“To prevail on a claim under

Section 14(a), a plaintiff must show: (1) the proxy statement

contained a material misstatement or omission, that (2) caused

plaintiff's injury, and (3) that the proxy solicitation was an

essential link in the accomplishment of the transaction.”).

     Premca’s claim attempts to carve out a negligence claim

under Section 14(a) to avoid the more rigorous pleading

requirements of a Section 10(b) claim, claiming that Count III

does not “sound in fraud” nor allege that iRobot or Angle acted

“with scienter or fraudulent intent.”      FAC ¶ 215.      While the

First Circuit has not ruled on this tactic, iRobot cites to

persuasive authority that, “[w]hen plaintiffs assert Section

14(a) claims grounded in alleged fraudulent conduct, they are

subject to heightened pleading requirements, even if they

disclaim reliance on a fraud theory.”      In re JP Morgan Chase

Sec. Litig., 363 F. Supp. 2d 595, 636 (S.D.N.Y. 2005) (citation

omitted); see In re Meta Materials Inc. Sec. Litig., No. 21-CV-

7203(CBA)(JRC), 2023 WL 6385563, at *22 n.18 (E.D.N.Y. Sept. 29,

2023).

     So it is here.   Premca ignores that it has incorporated

every allegation in the FAC into Count III.        See FAC ¶ 214

(“Lead plaintiff repeats and re-alleges each and every

allegation contained in the foregoing paragraphs as if fully set

forth herein.”).   Premca then tries to limit the effect of the

                                 [75]
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rest of the FAC by claiming that Count III, somehow, “does not

sound in fraud.”    See id. ¶ 215.   Premca then attempts to

delimit the claim to one that iRobot was “at least negligent in

filing the Modified Merger Proxy Statement.”        Id. ¶ 218

(emphasis added).

     The FAC, as a whole, is grounded in fraud, and therefore

Count III fails for the same reasons as the Rule 10(b)-5 claim.

Proceeding with 84 pages and 213 paragraphs of an amended

complaint on a theory of “wrongful acts and omissions,”           FAC ¶

16, where jurisdiction was premised solely on securities fraud,

see FAC ¶ 17 (“The claims asserted herein arise under and

pursuant to Sections 10(b) and 20(a) of the Exchange Act (15

U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

thereunder by the SEC (17 C.F.R. § 240.10b-5)”), with a Section

20(a) claim, Count II, premised on the securities fraud

allegations, and without a hint of the word negligence until

Count III, demonstrates that in substance the claim is based in

fraud, even though Premca disclaims reliance on fraud.           Cf.

Sharma v. Rent the Runway, Inc., No. 22-CV-06935(OEM)(VMS), 2024

WL 4287229, at *8 (E.D.N.Y. Sept. 25, 2024) (upholding Section

11 claim where complaint made clear throughout that the action

sounded only in negligence).




                                 [76]
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V. SECTON 20(A) CLAIM

       Premca argues that its Section 20(a) claim in Count II

survives because the Section 10(b) claim survives, apparently

abandoning a Section 20 claim under Section 14(a).             “The plain

terms of section 20(a) indicate that it only creates liability

derivative of an underlying securities violation.”             ACA Fin.

Guar. Corp., 512 F.3d at 67 (citing 15 U.S.C. § 78t(a)).               The

parties agree on this point.       iRobot Mem. 30; Premca Opp’n 29.

Accordingly, because Premca “did not state any claims under

section 10(b), [its] derivative section 20(a) claims also fail.”

Zhou, 120 F. 4th at 296 (citing Fire & Police Pension Ass’n of

Colo. v. Abiomed, Inc., 778 F.3d 228, 246 (1st Cir. 2015)).

VI.    THE ACTION IS DISMISSED WITH PREJUDICE

       The Court dismisses this action with prejudice.            Alleging

securities fraud is serious business, and the pleading process

ought not be used as a trial balloon, with repeated bites at the

apple ensuing at the motion to dismiss stage.            To the contrary,

Congress envisioned the PSLRA to raise the standard, striking a

delicate balance between the need to curb vexatious litigation

and protecting the public from fraud.12         The Court recognizes



       The Legislative History of the PSLRA confirms the
       12

delicate balance Congress envisioned in its passage:

            The overriding purpose of our Nation’s securities
       laws is to protect investors and to maintain
       confidence in the securities markets, so that our
                                    [77]
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 national savings, capital formation and investment may
 grow for the benefit of all Americans.

      The private securities litigation system is too
 important to the integrity of American capital markets
 to allow this system to be undermined by those who
 seek to line their own pockets by bringing abusive and
 meritless suits. Private securities litigation is an
 indispensable tool with which defrauded investors can
 recover their losses without having to rely upon
 government action. Such private lawsuits promote
 public and global confidence in our capital markets
 and help to deter wrongdoing and to guarantee that
 corporate officers, auditors, directors, lawyers and
 others properly perform their jobs. This legislation
 seeks to return the securities litigation system to
 that high standard.

      Congress has been prompted by significant
 evidence of abuse in private securities lawsuits to
 enact reforms to protect investors and maintain
 confidence in our capital markets. The House and
 Senate Committees heard evidence that abusive
 practices committed in private securities litigation
 include: (1) the routine filing of lawsuits against
 issuers of securities and others whenever there is a
 significant change in an issuer’s stock price, without
 regard to any underlying culpability of the issuer,
 and with only faint hope that the discovery process
 might lead eventually to some plausible cause of
 action; (2) the targeting of deep pocket defendants,
 including accountants, underwriters, and individuals
 who may be covered by insurance, without regard to
 their actual culpability; (3) the abuse of the
 discovery process to impose costs so burdensome that
 it is often economical for the victimized party to
 settle; and (4) the manipulation by class action
 lawyers of the clients whom they purportedly
 represent. These serious injuries to innocent parties
 are compounded by the reluctance of many judges to
 impose sanctions under Federal Rule of Civil Procedure
 11, except in those cases involving truly outrageous
 misconduct. At the same time, the investing public
 and the entire U.S. economy have been injured by the
 unwillingness of the best qualified persons to serve
 on boards of directors and of issuers to discuss
                              [78]
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that the First Circuit has expressed its “discomfort” with

dismissals with prejudice at the motion to dismiss stage and has

“emphatically reiterate[d] that the PSLRA does not require that

orders of dismissal be with prejudice.”       In re Genzyme Corp.



     publicly their future prospects, because of fear of
     baseless and extortionate securities lawsuits.

          In these and other examples of abusive and
     manipulative securities litigation, innocent parties
     are often forced to pay exorbitant “settlements.”
     When an insurer must pay lawyers’ fees, make
     settlement payments, and expend management and
     employee resources in defending a meritless suit, the
     issuers' own investors suffer. Investors always are
     the ultimate losers when extortionate “settlements”
     are extracted from issuers.

          This Conference Report seeks to protect
     investors, issuers, and all who are associated with
     our capital markets from abusive securities
     litigation. This legislation implements needed
     procedural protections to discourage frivolous
     litigation. It protects outside directors, and others
     who may be sued for non-knowing securities law
     violations, from liability for damage actually caused
     by others. It reforms discovery rules to minimize
     costs incurred during the pendency of a motion to
     dismiss or a motion for summary judgment. It protects
     investors who join class actions against lawyer-driven
     lawsuits by giving control of the litigation to lead
     plaintiffs with substantial holdings of the securities
     of the issuer. It gives victims of abusive securities
     lawsuits the opportunity to recover their attorneys'
     fees at the conclusion of an action. And it
     establishes a safe harbor for forward looking
     statements, to encourage issuers to disseminate
     relevant information to the market without fear of
     open-ended liability.

H.R. Rep. No. 104-369, at 31-32 (1995), as reprinted in 1995
U.S.C.C.A.N. 730-31.

                                 [79]
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Sec. Litig., 754 F.3d at 47.    “This is particularly so in light

of the fact that the PSLRA is a tool designed to curb vexatious

litigation, not a mechanism for denying bona fide claimants

their day in court.”   Id. (citing Tellabs, 551 U.S. at 320); see

also Belizan v. Hershon, 434 F.3d 579, 584 (D.C. Cir. 2006)

(“[H]ad the Congress wished to make dismissal with prejudice the

norm, and to that extent supersede the ordinary application of

Rule 15(a), we would expect the text of the PSLRA so to

provide.”).   While a dismissal with prejudice is not required by

Congress, the First Circuit also has recognized that in

appropriate cases it is “certainly within the bounds of the

district court’s discretion to dismiss with prejudice.”           In re

Genzyme Corp. Sec. Litig., 754 F.3d at 47.

     This Court does not hesitate liberally to allow leave to

file a motion for leave to amend when warranted and requested.

See Fed. R. Civ. P. 15(a).    Notwithstanding that “the PSLRA has

not modified the liberal amendment policy of Rule 15(a),” In re

Genzyme Corp. Securities Litig., 754 F.3d at 47, however, that

policy has limits.

     Here, the complaint has already been amended once.           The

Court took this matter under advisement, but was crystal clear

that it wanted all of the relevant information before it to make

a decision under the heightened pleading standards of the PSLRA.

The parties were invited to submit any further information while

                                 [80]
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the Court undertook writing this memorandum and order, with no

deadline imposed other than the uncertainty of the Court’s

issuance of this decision:

     [THE COURT:] I do want to say one thing. This has
     been well-briefed and well-argued and the Court
     appreciates that. I have -- within the past year in
     another PSLRA case, I have, um, allowed a motion to
     dismiss and then, with the addition of additional
     data, I had to eat what I had said and in part anyway
     reverse my earlier ruling. I don't want to do that.
     I expect I have everything, and if there’s anything
     else that this argument or the briefs have raised that
     is not before the Court, I expect to see it so that
     when I do rule, um, that that ruling will stand.

October 28, 2024 Hr’g Tr. 18-19, ECF No. 62; see Oklahoma

Firefighters Pension & Ret. Sys. v. Biogen, Inc., No. 22-10200-

WGY, 2024 WL 3178638, at *5 (D. Mass. Mar. 19, 2024) (partially

allowing Rule 59 motion, but “not[ing] [that] the gamesmanship

of plaintiff's counsel in failing initially to put their best

foot forward has caused unwarranted delay in this case and a

squandering of judicial resources that could better have been

used on other matters”).    Nothing further was filed –- either in

support of the FAC, or, for example, a timely motion to amend

the complaint under Rule 15.    This indicates to the Court that

Premca has already put its best foot forward: it had nothing

further to elucidate from its confidential witnesses, nor any

new information from its investigation of the facts.           See

Hensley v. Imprivata, Inc., 260 F. Supp. 3d 101, 126 (D. Mass.

2017) (Sorokin, J.) (dismissing claim with prejudice where

                                 [81]
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“Plaintiff was ‘put on notice of the deficiencies in the

[Amended Complaint] by the motion[s] to dismiss,’ but did not

claim he ‘had something relevant to add’ to address those

deficiencies” (alteration in original) (quoting Abiomed, 778

F.3d at 247)).   In the absence of newly discovered information,

amendment based upon the record appears futile.            Rather, it

incentivizes plaintiffs to file voluminous, narrative

complaints, with legal argument and conclusion disguised as

fact, being interwoven with few plausibly pleaded factual

allegations.   As the First Circuit explained when denying a

late-filed motion to amend:

     The plaintiffs argue that in the end, they were
     entitled to wait and see if their amended complaint
     was rejected by the district court before being put to
     the costs of filing a second amended complaint. They
     claim this would promote efficiency in the judicial
     system. Plaintiffs have it exactly backwards -- their
     methodology would lead to delays, inefficiencies, and
     wasted work. The plaintiffs do not get leisurely
     repeated bites at the apple, forcing a district judge
     to decide whether each successive complaint was
     adequate under the PSLRA. Plaintiffs may not, having
     the needed information, deliberately wait in the wings
     for a year and a half with another amendment to a
     complaint should the court hold the first amended
     complaint was insufficient. Such an approach would
     impose unnecessary costs and inefficiencies on both
     the courts and party opponents.

ACA Fin. Guar. Corp., 512 F.3d at 57; see Abiomed, 778 F.3d at

247 (“We wish to discourage this practice of seeking leave to

amend after the case has been dismissed”).        Congress has imposed

a purposefully high -- but not impossible -- bar at the pleading

                                 [82]
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stage under the PSLRA.      Premca’s cobbling together a few vague

news articles and four confidential witnesses, most of whom had

sparse and facially incomplete information, fails to meet this

bar.

VII. CONCLUSION

        For the aforementioned reasons, iRobot’s motion to dismiss

this action, ECF No. 50, is hereby ALLOWED, and this action is

DISMISSED with prejudice.      The Clerk is directed to enter a

separate order of dismissal with prejudice.13

       SO ORDERED.

                                             /s/ William G. Young
                                               WILLIAM G. YOUNG
                                                     JUDGE
                                                    of the
                                                UNITED STATES14




        The separate order of dismissal entered
       13

contemporaneously with this Memorandum and Order constitutes a
final judgment for purposes of appeal, and post-judgment relief
under Rule 59 and 60 of the Federal Rules of Civil Procedure.
See Quinones v. Frequency Therapeutics, Inc., 347 F.R.D. 560,
563 n.2 (D. Mass. 2024).

       This is how my predecessor, Peleg Sprague (D. Mass 1841-
       14

1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 46 years.
                                  [83]
